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                                                             #: 1993




                                                   Certification of Business Records

I, Regina Costain, the undersigned, declare that I am employed by FedEx Express Corporation in the Legal Department as a Senior
Paralegal Specialist and Custodian of Records and by reason of my position am authorized and qualified to make this declaration.

I further declare that the documents are original records or true copies of records that were:

    1. made at or near the time of the occurrence of the matters described in the documents, by (or from information transmitted by)
       a person with knowledge of those matters;
    2. kept in the course of regularly conducted business activity; and
    3. made by the said business activity as a regular practice.

I declare, certify, verify, and state under penalty of perjury that the foregoing is true and correct.

Date of Execution:            07/01/2025
Place of Execution:           FedEx Express Corporation
                              Legal Department
                              3620 Hacks Cross Road
                              Building B-Third Floor
                              Memphis, TN 38125

                                  Regina Costain
                                 Regina Costain
                                 Paralegal
                                 Custodian of Records


SWORN TO AND SUBSCRIBED before me on this 07/01/2025.




Notary Public in and for The State of Tennessee
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                  FEDERAL EXPRESS CORPORATION’S RESPONSE TO
                            PRODUCTION REQUESTS

           All documents, records, communications, and files in your possession, custody, or

   control, concerning or referring to Demitrus Cooper including but not limited to:




         l.        Any and all employment records, personnel files, contractor or driver

   engagement files, from January 1, 2017 to the present.

 RESPONSE: The Federal Express Corporation legal department is in receipt of your subpoena
 for records for Demitrus Cooper. Demetrus is/has never been a Federal Express Corporation
 employee. Demitrus is/was an employee of various contracted service providers, separate,
 independent businesses that provides/provided package transportation services under an
 Agreement with Federal Express Corporation. Any further information relating to Demitrus
 Cooper’s employment should be sought from the contracted service providers for which they
 works/ed. See attached contract service provider information sheet for which Demitrus Cooper
 was employed.


         2.        Any and all Time sheets, Scanner and/or work logs, route sheets, attendance

   records, schedules, and dispatch records from January 1, 2017 to the present.

   RESPONSE: Please see attached scanner data. Due to fact that we are not employer of

   Demitrus Cooper, we would not have schedules, attendance records or time sheets, those need

   to be sought from the service providers.




         3.        Any and all Payment records, including but not limited to wage statements,

   pay stubs, check copies, and earnings summaries from January 1, 2017 to the present.

   RESPONSE: Please see response to paragraph 1 above.


         4.        Any and all Records reflecting Cooper's status as an employee, independent

   contractor, or subcontractor from January 1, 2017 to the present.
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   RESPONSE: Please see response to paragraph 1 above.
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         5.        Any and all incident or disciplinary records, termination documents,

   resignation letters, or other separation documents from January 1, 2017 to the present.

   RESPONSE: Please see response to paragraph 1 above.


         6         Any and all Documents showing which entity or individual Cooper was

   assigned to or worked under during the period referenced from January 1, 2017 to the present.

   RESPONSE: Please see response to paragraphs 1 and 2 above.


         7.        Any and all Copies of any contracts, agreements, or work authorizations

   executed between FedEx and Demitrus Cooper from January 1, 2017 to the present.

   RESPONSE: Please see response to paragraph 1 above.




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CONTRACT NUMBER     SERVICE PROVIDER
C7925907          CAZ-59 EXPRESS INC.
C7926477          GAMA SERVICE INC.
C8108647          A&J SHIPPING
C8140305          DC&E TRANSPORT
C8201250          GTM LOGISTICS
C8250254          DC&E TRANSPORT
C8305622          FIRE & ICE TRUCKING
C8413626          FIRE & ICE TRUCKING
C8596888          BATTERY DELIVERY
C8697652          SUNNY EXPRESS
C8777261          FIRE & ICE TRUCKING
C8866074          FIRE & ICE TRUCKING
C8866269          BATTERY DELIVERY
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                        Dates:                                                                                                                          7/1/2025
               Starting - {?Start_date}
FedEx           Ending - {?End_date}      CONTID     Facility   Delivery    Work   Contractor    Vehicle   On_Duty       Off_Duty     Scanner      Driver
 - ID                Driver_Name                                - Date      Area      Prim       Number     _Time         _Time         - ID       _Type
                                                                           Number Service_Area
7884076   Cooper,Demitrus                 C7000110    3102      20190309    3102     903102      87632      8:00:00AM    4:09:00PM   1222450221   MANAGEMENT
7884076   Cooper,Demitrus                 C7925907    3102      20180224    0201     301940      712135     8:00:00AM    1:28:00PM   1221090373     DRIVER
7884076   Cooper,Demitrus                 C7925907    3102      20180227    0201     301940      712135     9:00:00AM    3:57:00PM   1221090373     DRIVER
7884076   Cooper,Demitrus                 C7925907    3102      20180228    0201     301940      712135     9:00:00AM    2:50:00PM   1221090373     DRIVER
7884076   Cooper,Demitrus                 C7925907    3102      20180301    0201     301940      712135     8:00:00AM    2:38:00PM   1221090373     DRIVER
7884076   Cooper,Demitrus                 C7925907    3102      20180303    0207     301940      712135     9:00:00AM    1:16:00PM   1225181050     DRIVER
7884076   Cooper,Demitrus                 C7925907    3102      20180306    0207     301940      712135     9:00:00AM    3:08:00PM   1225181050     DRIVER
7884076   Cooper,Demitrus                 C7925907    3102      20180307    0207     301940      712135     9:00:00AM    2:47:00PM   1222040366     DRIVER
7884076   Cooper,Demitrus                 C7925907    3102      20180308    0207     301940      712135     9:00:00AM   12:10:00PM   1222040366     DRIVER
7884076   Cooper,Demitrus                 C7925907    3102      20180309    0207     301940      712135     9:01:00AM    2:20:00PM   1222040366     DRIVER
7884076   Cooper,Demitrus                 C7925907    3102      20180310    0207     301940      712135     9:00:00AM    3:36:00PM   1222040366     DRIVER
7884076   Cooper,Demitrus                 C7925907    3102      20180313    0207     301940      712135    10:00:00AM    5:30:00PM   1225170697     DRIVER
7884076   Cooper,Demitrus                 C7925907    3102      20180314    0207     301940      712135     9:00:00AM    2:34:00PM   1222040366     DRIVER
7884076   Cooper,Demitrus                 C7925907    3102      20180315    0207     301940      712135     9:00:00AM    2:16:00PM   1222040366     DRIVER
7884076   Cooper,Demitrus                 C7925907    3102      20180316    0207     301940      712135     9:00:00AM    2:05:00PM   1222040366     DRIVER
7884076   Cooper,Demitrus                 C7925907    3102      20180320    0207     301940      712135    10:00:00AM    3:58:00PM   1222040366     DRIVER
7884076   Cooper,Demitrus                 C7925907    3102      20180321    0207     301940      712135     8:00:00AM    2:17:00PM   1222120431     DRIVER
7884076   Cooper,Demitrus                 C7925907    3102      20180322    0207     301940      712135     8:00:00AM   11:09:00AM   1222040366     DRIVER
7884076   Cooper,Demitrus                 C7925907    3102      20180323    0207     301940      712135     8:00:00AM    3:10:00PM   1222040366     DRIVER
7884076   Cooper,Demitrus                 C7925907    3102      20180324    0207     301940      712135    10:00:00AM    4:25:00PM   1222040366     DRIVER
7884076   Cooper,Demitrus                 C7925907    3102      20180326    0207     301940      712135     8:00:00AM   12:40:00PM   1225181050     DRIVER
7884076   Cooper,Demitrus                 C7925907    3102      20180327    0207     301940      712135     9:00:00AM    3:44:00PM   1222040366     DRIVER
7884076   Cooper,Demitrus                 C7925907    3102      20180328    0207     301940      712135     9:00:00AM    2:51:00PM   1222040366     DRIVER
7884076   Cooper,Demitrus                 C7925907    3102      20180329    0207     301940      712135     8:00:00AM    1:38:00PM   1225181050     DRIVER
7884076   Cooper,Demitrus                 C7925907    3102      20180330    0207     301940      712135     8:00:00AM    6:01:00PM   1222040366     DRIVER
7884076   Cooper,Demitrus                 C7925907    3102      20180331    0207     301940      712135     8:00:00AM    1:34:00PM   1222040366     DRIVER
7884076   Cooper,Demitrus                 C7925907    3102      20180403    0207     301940      712135     9:02:00AM    2:08:00PM   1222040366     DRIVER
7884076   Cooper,Demitrus                 C7925907    3102      20180404    0207     301940      712135     8:00:00AM    1:37:00PM   1225181050     DRIVER
7884076   Cooper,Demitrus                 C7925907    3102      20180405    0207     301940      712135     8:00:00AM    1:25:00PM   1225181050     DRIVER
7884076   Cooper,Demitrus                 C7925907    3102      20180406    0207     301940      712135     9:00:00AM    1:51:00PM   1223420025     DRIVER
7884076   Cooper,Demitrus                 C7925907    3102      20180407    0207     301940      712135     8:00:00AM   12:47:00PM   1221090373     DRIVER
7884076   Cooper,Demitrus                 C7925907    3102      20180410    0207     301940      712135     9:00:00AM    3:32:00PM   1221090373     DRIVER
7884076   Cooper,Demitrus                 C7925907    3102      20180411    0207     301940      712135     8:00:00AM    2:12:00PM   1221090373     DRIVER
7884076   Cooper,Demitrus                 C7925907    3102      20180412    0207     301940      712135     8:00:00AM   12:41:00PM   1221090373     DRIVER
7884076   Cooper,Demitrus                 C7925907    3102      20180413    0207     301940      712135     8:00:00AM   12:47:00PM   1221090373     DRIVER
7884076   Cooper,Demitrus                 C7925907    3102      20180414    0207     301940      712135     8:00:00AM    1:25:00PM   1221090373     DRIVER
7884076   Cooper,Demitrus                 C7925907    3102      20180417    0207     301940      712135     9:00:00AM    5:17:00PM   1221090373     DRIVER
7884076   Cooper,Demitrus                 C7925907    3102      20180418    0207     301940      712135     9:00:00AM    4:13:00PM   1221090373     DRIVER
7884076   Cooper,Demitrus                 C7925907    3102      20180419    0207     301940      712135     8:00:00AM    2:27:00PM   1221090373     DRIVER
7884076   Cooper,Demitrus                 C7925907    3102      20180420    0207     301940      712135     8:00:00AM    1:00:00PM   1221090373     DRIVER
7884076   Cooper,Demitrus                 C7925907    3102      20180421    0207     301940      712135     9:00:00AM    2:01:00PM   1221090373     DRIVER
7884076   Cooper,Demitrus                 C7925907    3102      20180424    0207     301940      712135     9:00:00AM    3:56:00PM   1221090373     DRIVER
7884076   Cooper,Demitrus                 C7925907    3102      20180426    0207     301940      712135     9:00:00AM    3:17:00PM   1221090373     DRIVER
7884076   Cooper,Demitrus                 C7925907    3102      20180427    0207     301940      712135     7:00:00AM    2:00:00PM   1221090373     DRIVER
7884076   Cooper,Demitrus                 C7925907    3102      20180428    0207     301940      712135     9:00:00AM    1:38:00PM   1221090373     DRIVER
7884076   Cooper,Demitrus                 C7925907    3102      20180501    0207     301940      712135    10:00:00AM    3:40:00PM   1221090373     DRIVER
7884076   Cooper,Demitrus                 C7925907    3102      20180502    0207     301940      712135    10:00:00AM    3:32:00PM   1221090373     DRIVER
7884076   Cooper,Demitrus                 C7925907    3102      20180503    0207     301940      712135     9:00:00AM    2:51:00PM   1221090373     DRIVER
7884076   Cooper,Demitrus                 C7925907    3102      20180504    0207     301940      712135     8:01:00AM    1:24:00PM   1221090373     DRIVER
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7884076   Cooper,Demitrus          C7925907   3102   20180505   0207   301940      712135    8:00:00AM   12:40:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180508   0207   301940      712135    9:00:00AM    2:50:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180509   0207   301940      712135    9:00:00AM    3:47:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180510   0207   301940      712135    8:00:00AM    2:00:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180511   0207   301940      712135    8:00:00AM   12:59:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180512   0207   301940      712135    9:00:00AM    2:36:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180515   0207   301940      712135   10:00:00AM    4:49:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180516   0207   301940      712135    9:00:00AM    4:38:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180517   0207   301940      712135    9:00:00AM    2:25:00PM   1221150225   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180518   0207   301940      712135    9:00:00AM    1:46:00PM   1225181050   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180519   0207   301940      712135    9:00:00AM    1:09:00PM   1222162080   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180522   0207   301940      712135    9:00:00AM    2:17:00PM   1221390190   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180523   0207   301940      712135    8:00:00AM    1:55:00PM   1222040366   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180524   0207   301940      712135    8:00:00AM    1:10:00PM   1222040366   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180525   0207   301940      712135    8:00:00AM   12:11:00PM   1223420127   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180526   0207   301940      712135    7:00:00AM   12:01:00PM   1222162326   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180529   0207   301940      712135    7:00:00AM   11:48:00AM   1222140496   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180530   0207   301940      712135   10:00:00AM    2:05:00PM   1222040366   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180531   0207   301940      712135    9:00:00AM    2:20:00PM   1221110362   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180601   0207   301940      712135    8:00:00AM   12:52:00PM   1225170122   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180602   0207   301940      712135    9:00:00AM    1:50:00PM   1225170656   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180605   0207   301940      712135    9:00:00AM    2:52:00PM   1222120431   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180606   0207   301940      712135    8:00:00AM    1:28:00PM   1222030547   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180607   0207   301940      712135    8:00:00AM    3:10:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180608   0207   301940      712135    8:00:00AM   12:12:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180609   0207   301940      712135    9:00:00AM    1:18:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180612   0207   301940      712135    8:00:00AM   12:53:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180613   0207   301940      712135    8:00:00AM   12:26:00PM   1222040366   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180614   0207   301940      712135    8:00:00AM   12:22:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180615   0207   301940      712135    7:00:00AM   11:44:00AM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180616   0207   301940      712135    8:00:00AM   11:51:00AM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180619   0207   301940      712135    8:00:00AM    2:35:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180620   0207   301940      712135    8:00:00AM    1:20:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180621   0207   301940      712135    7:00:00AM   12:48:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180622   0207   301940      712135    7:00:00AM   12:21:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180623   0207   301940      712135    7:00:00AM   11:32:00AM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180626   0207   301940      712135    8:00:00AM   12:26:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180627   0207   301940      712135    7:00:00AM   12:26:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180628   0207   301940      712135    6:00:00AM   11:43:00AM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180629   0207   301940      712135    7:00:00AM   11:50:00AM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180630   0207   301940      712135    7:00:00AM   11:46:00AM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180703   0207   301940      712135    8:00:00AM    1:46:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180705   0207   301940      712135    7:00:00AM   11:43:00AM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180706   0207   301940      712135    7:00:00AM   11:55:00AM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180707   0207   301940      712135    9:00:00AM   12:57:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180710   0207   301940      712135    6:00:00AM    1:04:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180711   0207   301940      712135    7:00:00AM   12:37:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180712   0207   301940      712135    8:00:00AM   12:50:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180713   0207   301940      712135    7:00:00AM    1:20:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180714   0207   301940      712135    7:00:00AM   12:38:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180717   0207   301940      712135    8:00:00AM   12:41:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180718   0207   301940      712135    8:00:00AM   12:31:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180719   0207   301940      712135    8:00:00AM   12:32:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180720   0207   301940      712135    8:00:00AM   11:50:00AM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180721   0207   301940      712135    8:00:00AM   12:01:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180724   0207   301940      712135    8:00:00AM   12:49:00PM   1221090373   DRIVER
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7884076   Cooper,Demitrus          C7925907   3102   20180725   0207   301940      301848   8:00:00AM    1:50:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180726   0207   301940      301848   7:00:00AM   11:51:00AM   1221201094   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180727   0207   301940      301848   6:30:00AM   12:02:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180728   0207   301940      301848   7:00:00AM   11:50:00AM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180731   0207   301940      301848   7:00:00AM   12:54:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180801   0207   301940      712135   7:00:00AM   12:54:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180802   0207   301940      712135   7:00:00AM   12:38:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180803   0207   301940      712135   8:00:00AM   12:30:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180804   0207   301940      712135   7:00:00AM   12:20:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180808   0207   301940      712135   8:00:00AM    1:03:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180809   0207   301940      712135   7:00:00AM   11:04:00AM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180810   0207   301940      712135   7:00:00AM   11:59:00AM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180811   0207   301940      712135   7:00:00AM   11:45:00AM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180814   0207   301940      712135   6:00:00AM    1:09:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180815   0207   301940      712135   6:00:00AM    1:23:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180816   0207   301940      712135   6:00:00AM   12:21:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180817   0207   301940      712135   7:00:00AM   11:28:00AM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180818   0207   301940      712135   7:00:00AM   11:27:00AM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180821   0207   301940      712135   7:00:00AM   12:13:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180822   0207   301940      712135   8:00:00AM   11:59:00AM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180823   0207   301940      712135   7:00:00AM   10:43:00AM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180824   0207   301940      712135   6:00:00AM   11:38:00AM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180825   0207   301940      712135   6:00:00AM   10:55:00AM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180828   0207   301940      712135   7:00:00AM   12:00:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180829   0207   301940      712135   8:00:00AM   12:31:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180830   0207   301940      712135   7:00:00AM   11:51:00AM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180831   0207   301940      712135   7:00:00AM   12:16:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180901   0207   301940      712135   8:00:00AM   12:01:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180904   0207   301940      712135   7:00:00AM   11:50:00AM   1222040366   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180905   0207   301940      712135   8:00:00AM    1:21:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180906   0207   301940      712135   9:00:00AM    3:30:00PM   1222162062   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180907   0207   301940      712135   8:00:00AM    1:43:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180908   0207   301940      712135   8:00:00AM    1:00:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180911   0207   301940      712135   7:00:00AM    2:04:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180912   0207   301940      712135   8:00:00AM    2:32:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180913   0207   301940      712135   8:00:00AM    1:36:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180914   0207   301940      712135   8:00:00AM    2:10:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180915   0207   301940      712135   7:00:00AM   12:44:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180918   0207   301940      712135   8:00:00AM    3:19:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180919   0207   301940      712135   8:00:00AM    1:30:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180920   0207   301940      712135   8:00:00AM    1:29:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180921   0207   301940      712135   7:00:00AM    1:35:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180922   0207   301940      712135   8:00:00AM    1:02:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180926   0207   301940      712135   8:00:00AM    2:40:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180927   0207   301940      712135   8:00:00AM    1:22:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180928   0207   301940      712135   8:00:00AM    1:26:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20180929   0207   301940      712135   9:00:00AM    2:20:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20181002   0207   301940      712135   9:00:00AM    2:55:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20181004   0207   301940      712135   8:00:00AM    1:23:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20181005   0207   301940      712135   8:00:00AM    1:07:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20181006   0207   301940      712135   8:00:00AM    2:11:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20181009   0207   301940      712135   9:00:00AM    3:48:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20181010   0207   301940      712135   8:00:00AM    2:30:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20181011   0207   301940      712135   8:00:00AM   12:40:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20181012   0207   301940      712135   8:00:00AM    1:27:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20181020   0207   301940      712135   8:00:00AM    1:32:00PM   1221090373   DRIVER
                            Case 1:23-cv-01675-KAM-TAM     Document 78-10       Filed 07/09/25     Page 8 of 19 PageID
                                                                 #: 2000
7884076   Cooper,Demitrus          C7925907   3102   20181023   0207   301940      712135   8:00:00AM    1:52:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20181024   0207   301940      712135   7:00:00AM    2:32:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20181025   0207   301940      712135   7:00:00AM   12:42:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20181026   0207   301940      712135   8:00:00AM    1:39:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20181027   0207   301940      712135   8:00:00AM   12:59:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20181030   0207   301940      712135   7:00:00AM    1:40:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20181031   0207   301940      712135   8:00:00AM    1:59:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20181101   0207   301940      712135   8:00:00AM    1:06:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20181102   0207   301940      712135   8:00:00AM    1:05:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20181103   0207   301940      712135   8:00:00AM   12:15:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20181106   0207   301940      712135   8:00:00AM    2:36:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20181107   0207   301940      712135   8:00:00AM    1:13:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20181108   0207   301940      712135   8:00:00AM   12:11:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20181109   0207   301940      712135   7:00:00AM   12:19:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20181110   0207   301940      712135   8:00:00AM   11:55:00AM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20181113   0207   301940      712135   8:00:00AM    1:55:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20181114   0207   301940      712135   8:00:00AM    3:04:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20181115   0207   301940      712135   7:00:00AM   12:56:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20181117   0207   301940      712135   9:00:00AM    2:15:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20181119   0207   301940      712135   9:00:00AM    3:15:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20181120   0207   301940      712135   8:00:00AM    1:19:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20181121   0207   301940      712135   8:00:00AM    2:10:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20181124   0207   301940      712135   7:00:00AM   11:29:00AM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20181126   0207   301940      712135   8:00:00AM    1:24:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20181127   0207   301940      712135   7:00:00AM   11:48:00AM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20181128   0207   301940      712135   8:00:00AM   12:52:00PM   1222040366   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20181129   0207   301940      712135   8:00:00AM   12:31:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20181130   0207   301940      712135   7:00:00AM   12:05:00PM   1222040366   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20181201   0207   301940      712135   8:00:00AM    1:21:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20181203   0207   301940      712135   7:00:00AM   10:59:00AM   1222040366   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20181204   0207   301940      712135   7:00:00AM    2:40:00PM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20181205   0207   301940      712135   7:00:00AM   11:46:00AM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20181206   0207   301940      712135   8:00:00AM   12:16:00PM   1222040366   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20181207   0207   301940      712135   7:00:00AM   11:37:00AM   1222040366   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20181208   0207   301940      712135   7:00:00AM   12:26:00PM   1222040366   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20181210   0207   301940      712135   7:00:00AM   11:56:00AM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20181211   0207   301940      712135   8:00:00AM   11:58:00AM   1221090373   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20181212   0207   301940      712135   7:00:00AM   12:47:00PM   1222040366   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20181213   0207   301940      712135   7:00:00AM   11:38:00AM   1222040366   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20181214   0207   301940      712135   7:00:00AM    1:34:00PM   1222040366   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20181215   0207   301940      712135   7:00:00AM   11:40:00AM   1222040366   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20181217   0207   301940      712135   7:00:00AM   12:44:00PM   1222040366   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20181218   0207   301940      712135   7:00:00AM   11:15:00AM   1222040366   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20181219   0207   301940      712135   7:00:00AM   12:37:00PM   1222040366   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20181220   0207   301940      712135   7:00:00AM   12:00:00PM   1222040366   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20181221   0207   301940      712135   7:00:00AM    9:32:00PM   1222040366   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20181222   0207   301940      712135   7:00:00AM   12:40:00PM   1222040366   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20181224   0207   301940      301848   7:00:00AM   10:28:00AM   1222040366   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20181227   0207   301940      712135   7:00:00AM   10:37:00AM   1222040366   DRIVER
7884076   Cooper,Demitrus          C7925907   3102   20181228   0207   301940      712135   7:00:00AM    1:02:00PM   1222040366   DRIVER
7884076   Cooper,Demitrus          C7926477   3102   20181013   0323   301944      742134   8:00:00AM    2:31:00PM   1220340135   DRIVER
7884076   Cooper,Demitrus          C7926477   3102   20181016   0309   301944      303869   8:00:00AM    4:59:00PM   1223440206   DRIVER
7884076   Cooper,Demitrus          C7926477   3102   20181017   0309   301944      303869   9:00:00AM    5:21:00PM   1225170122   DRIVER
7884076   Cooper,Demitrus          C7926477   3102   20181018   0309   301944      303869   8:00:00AM    3:08:00PM   1222162079   DRIVER
7884076   Cooper,Demitrus          C7926477   3102   20181019   0309   301944      303869   8:00:00AM    3:08:00PM   1221110362   DRIVER
7884076   Cooper,Demitrus          C8108647   3102   20190102   0107   303036      326408   9:00:00AM    3:58:00PM   1222140976   DRIVER
                            Case 1:23-cv-01675-KAM-TAM     Document 78-10       Filed 07/09/25      Page 9 of 19 PageID
                                                                 #: 2001
7884076   Cooper,Demitrus          C8108647   3102   20190103   0107   303036      326408    9:00:00AM   1:57:00PM   1222162548   DRIVER
7884076   Cooper,Demitrus          C8108647   3102   20190105   0107   303036      326408    9:00:00AM   3:00:00PM   1225170639   DRIVER
7884076   Cooper,Demitrus          C8108647   3102   20190108   0107   303036      326408    8:00:00AM   6:01:00PM   1222170507   DRIVER
7884076   Cooper,Demitrus          C8108647   3102   20190109   0107   303036      326408    8:00:00AM   2:44:00PM   1222162548   DRIVER
7884076                            C8108647   3102   20190110   0107   303036      326408    9:00:00AM   1:48:00PM   1221150225   HELPER
7884076   Cooper,Demitrus          C8108647   3102   20190111   0107   303036      326408    7:00:00AM   1:40:00PM   1222162736   DRIVER
7884076   Cooper,Demitrus          C8108647   3102   20190112   0107   303036      326408    8:00:00AM   1:32:00PM   1222140976   DRIVER
7884076   Cooper,Demitrus          C8108647   3102   20190115   0107   303036      326408    9:00:00AM   2:06:00PM   1221150225   DRIVER
7884076                            C8108647   3102   20190115   0107   303036      326408    9:00:00AM   2:06:00PM   1222040515   HELPER
7884076                            C8108647   3102   20190116   0107   303036      326408    8:00:00AM   3:59:00PM   1222161258   HELPER
7884076   Cooper,Demitrus          C8108647   3102   20190116   0107   303036      326408    8:00:00AM   3:59:00PM   1225170639   DRIVER
7884076                            C8108647   3102   20190117   0107   303036      326408    8:00:00AM   2:22:00PM   1222161258   HELPER
7884076   Cooper,Demitrus          C8108647   3102   20190117   0107   303036      326408    8:00:00AM   2:22:00PM   1222162548   DRIVER
7884076   Cooper,Demitrus          C8108647   3102   20190118   0107   303036      326408    8:00:00AM   1:45:00PM   1222050254   DRIVER
7884076   Cooper,Demitrus          C8108647   3102   20190119   0107   303036      326408    8:00:00AM   1:22:00PM   1224150216   DRIVER
7884076   Cooper,Demitrus          C8108647   3102   20190123   0107   303036      326408    8:00:00AM   3:50:00PM   1224150216   DRIVER
7884076   Cooper,Demitrus          C8108647   3102   20190125   0107   303036      326408    8:00:00AM   2:38:00PM   1224150216   DRIVER
7884076   Cooper,Demitrus          C8140305    100   20190604   0137   301844      83016     9:00:00AM   5:18:00PM   1221090197   DRIVER
7884076   Cooper,Demitrus          C8140305    100   20190605   0137   301844      83016     9:00:00AM   5:22:00PM   1221090060   DRIVER
7884076   Cooper,Demitrus          C8140305    100   20190606   0137   301844      83016     9:00:00AM   5:57:00PM   1222140468   DRIVER
7884076   Cooper,Demitrus          C8140305    100   20190607   0137   301844      83016    10:00:00AM   9:15:00PM   1223170174   DRIVER
7884076   Cooper,Demitrus          C8140305    100   20190611   0133   301844      313383    9:00:00AM   5:24:00PM   1221341599   DRIVER
7884076   Cooper,Demitrus          C8140305    100   20190612   0133   301844      313383    9:00:00AM   6:17:00PM   1222160484   DRIVER
7884076   Cooper,Demitrus          C8140305    100   20190613   0133   301844      313383    9:00:00AM   5:20:00PM   1221090060   DRIVER
7884076   Cooper,Demitrus          C8140305    100   20190614   0133   301844      313383    9:00:00AM   6:10:00PM   1221091549   DRIVER
7884076   Cooper,Demitrus          C8140305    100   20190617   0133   301844      313383    9:00:00AM   6:11:00PM   1225170430   DRIVER
7884076   Cooper,Demitrus          C8140305    100   20190618   0133   301844      313383    9:00:00AM   6:26:00PM   1222160484   DRIVER
7884076   Cooper,Demitrus          C8140305    100   20190619   0133   301844      313383    9:00:00AM   6:27:00PM   1223120022   DRIVER
7884076   Cooper,Demitrus          C8140305    100   20190620   0133   301844      313383    9:00:00AM   5:48:00PM   1222160484   DRIVER
7884076   Cooper,Demitrus          C8140305    100   20190625   0133   301844      313383   10:00:00AM   6:54:00PM   1225170356   DRIVER
7884076   Cooper,Demitrus          C8140305    100   20190626   0133   301844      313383    9:00:00AM   5:40:00PM   1224150374   DRIVER
7884076   Cooper,Demitrus          C8140305    100   20190627   0133   301844      313383   10:00:00AM   6:08:00PM   1222060234   DRIVER
7884076   Cooper,Demitrus          C8140305    100   20190628   0133   301844      313383    7:00:00AM   4:10:00PM   1221090060   DRIVER
7884076   Cooper,Demitrus          C8140305    100   20190701   0133   301844      313383    9:00:00AM   6:07:00PM   1225170356   DRIVER
7884076   Cooper,Demitrus          C8140305    100   20190702   0133   301844      313383    9:00:00AM   6:10:00PM   1224150374   DRIVER
7884076   Cooper,Demitrus          C8140305    100   20190703   0133   301844      313383    9:00:00AM   5:33:00PM   1222160953   DRIVER
7884076   Cooper,Demitrus          C8140305    100   20190705   0133   301844      313383   10:00:00AM   6:14:00PM   1223170174   DRIVER
7884076   Cooper,Demitrus          C8140305    100   20190708   0133   301844      313383    9:00:00AM   7:32:00PM   1221090060   DRIVER
7884076   Cooper,Demitrus          C8140305    100   20190709   0133   301844      313383    9:00:00AM   6:40:00PM   1222450734   DRIVER
7884076   Cooper,Demitrus          C8140305    100   20190710   0133   301844      313383    9:00:00AM   5:19:00PM   1220340437   DRIVER
7884076   Cooper,Demitrus          C8140305    100   20190711   0133   301844      317158    9:00:00AM   5:29:00PM   1224150374   DRIVER
7884076   Cooper,Demitrus          C8140305    100   20190712   0133   301844      317158    9:00:00AM   6:07:00PM   1223120022   DRIVER
7884076   Cooper,Demitrus          C8140305    100   20190715   0133   301844      317158    9:00:00AM   7:41:00PM   1221390332   DRIVER
7884076   Cooper,Demitrus          C8140305    100   20190717   0133   301844      317158    9:00:00AM   6:17:00PM   1221151301   DRIVER
7884076   Cooper,Demitrus          C8140305    100   20190718   0133   301844      317158    9:00:00AM   6:04:00PM   1223120022   DRIVER
7884076   Cooper,Demitrus          C8140305    100   20190719   0133   301844      317158    9:00:00AM   6:10:00PM   1221151301   DRIVER
7884076   Cooper,Demitrus          C8140305    100   20190722   0133   301844      317158    9:00:00AM   6:15:00PM   1222160484   DRIVER
7884076   Cooper,Demitrus          C8140305    100   20190723   0133   301844      317158   10:00:00AM   6:05:00PM   1221151301   DRIVER
7884076   Cooper,Demitrus          C8140305    100   20190724   0133   301844      317158    9:00:00AM   6:32:00PM   1221341599   DRIVER
7884076   Cooper,Demitrus          C8140305    100   20190725   0133   301844      317158    9:00:00AM   6:57:00PM   1225170356   DRIVER
7884076   Cooper,Demitrus          C8140305    100   20190726   0133   301844      317158    9:00:00AM   5:45:00PM   1220340437   DRIVER
7884076   Cooper,Demitrus          C8140305    100   20190729   0133   301844      317158    9:00:00AM   6:39:00PM   1223120022   DRIVER
7884076   Cooper,Demitrus          C8140305    100   20190730   0133   301844      317158    9:00:00AM   6:35:00PM   1224150373   DRIVER
7884076   Cooper,Demitrus          C8140305    100   20190731   0133   301844      317158    9:00:00AM   5:13:00PM   1224150374   DRIVER
7884076   Cooper,Demitrus          C8140305    100   20190801   0133   301844      317158    9:00:00AM   6:13:00PM   1221341599   DRIVER
7884076   Cooper,Demitrus          C8140305    100   20190802   0133   301844      317158    9:00:00AM   6:26:00PM   1223120022   DRIVER
                            Case 1:23-cv-01675-KAM-TAM     Document 78-10        Filed 07/09/25    Page 10 of 19 PageID
                                                                 #: 2002
7884076   Cooper,Demitrus          C8140305     100   20190805   0133   301844      317158    9:00:00AM 6:41:00PM    1223120022   DRIVER
7884076   Cooper,Demitrus          C8140305     100   20190806   0133   301844      317158   10:00:00AM 6:44:00PM    1221341599   DRIVER
7884076   Cooper,Demitrus          C8140305     100   20190807   0133   301844      317158    9:00:00AM 7:08:00PM    1221151301   DRIVER
7884076   Cooper,Demitrus          C8140305     100   20190808   0133   301844      317158    9:00:00AM 6:14:00PM    1222160484   DRIVER
7884076   Cooper,Demitrus          C8140305     100   20190809   0133   301844      317158    9:00:00AM 6:26:00PM    1223170174   DRIVER
7884076   Cooper,Demitrus          C8140305     100   20190812   0133   301844      317158    9:00:00AM 6:19:00PM    1221090060   DRIVER
7884076   Cooper,Demitrus          C8140305     100   20190813   0133   301844      317158    9:00:00AM 6:58:00PM    1223120022   DRIVER
7884076   Cooper,Demitrus          C8140305     100   20190814   0133   301844      317158   10:00:00AM 6:19:00PM    1224150374   DRIVER
7884076   Cooper,Demitrus          C8140305     100   20190815   0133   301844      317158    9:00:00AM 6:09:00PM    1225170356   DRIVER
7884076   Cooper,Demitrus          C8140305     100   20190816   0133   301844      317158    9:00:00AM 6:23:00PM    1221290306   DRIVER
7884076   Cooper,Demitrus          C8140305     100   20190820   0133   301844      317158    9:00:00AM 6:35:00PM    1222160484   DRIVER
7884076   Cooper,Demitrus          C8140305     100   20190821   0133   301844      317158   10:00:00AM 7:23:00PM    1220340437   DRIVER
7884076   Cooper,Demitrus          C8140305     100   20190822   0133   301844      317158   10:00:00AM 6:27:00PM    1221341599   DRIVER
7884076   Cooper,Demitrus          C8140305     100   20190823   0133   301844      317158   10:00:00AM 6:10:00PM    1221151301   DRIVER
7884076   Cooper,Demitrus          C8140305     100   20190826   0133   301844      317158    9:00:00AM 6:16:00PM    1221090060   DRIVER
7884076   Cooper,Demitrus          C8140305     100   20190827   0133   301844      317158   10:00:00AM 6:06:00PM    1221151301   DRIVER
7884076   Cooper,Demitrus          C8140305     100   20190828   0133   301844      317158   10:00:00AM 6:10:00PM    1224150374   DRIVER
7884076   Cooper,Demitrus          C8140305     100   20190829   0133   301844      317158   10:00:00AM 6:07:00PM    1220340437   DRIVER
7884076   Cooper,Demitrus          C8140305     100   20190830   0133   301844      317158   10:00:00AM 6:25:00PM    1223120022   DRIVER
7884076   Cooper,Demitrus          C8140305     100   20190909   0133   301844      317158    9:00:00AM 6:02:00PM    1220440714   DRIVER
7884076   Cooper,Demitrus          C8140305     100   20190910   0133   301844      317158   10:00:00AM 6:33:00PM    1223120022   DRIVER
7884076   Cooper,Demitrus          C8140305     100   20190911   0133   301844      317158   10:00:00AM 6:33:00PM    1220440587   DRIVER
7884076   Cooper,Demitrus          C8140305     100   20190912   0133   301844      317158   10:00:00AM 6:05:00PM    1223120022   DRIVER
7884076   Cooper,Demitrus          C8140305     100   20190913   0133   301844      317158   10:00:00AM 6:30:00PM    1222360066   DRIVER
7884076   Cooper,Demitrus          C8140305     100   20190916   0133   301844      317158   10:00:00AM 6:45:00PM    1223121200   DRIVER
7884076   Cooper,Demitrus          C8140305     100   20190917   0133   301844      313383   10:00:00AM 6:15:00PM    1220340437   DRIVER
7884076   Cooper,Demitrus          C8140305     100   20190918   0133   301844      313383   10:00:00AM 6:40:00PM    1223120022   DRIVER
7884076   Cooper,Demitrus          C8140305     100   20190919   0133   301844      313383    9:00:00AM 6:13:00PM    1222172494   DRIVER
7884076   Cooper,Demitrus          C8140305     100   20190920   0133   301844      313383    9:00:00AM 6:11:00PM    1224150693   DRIVER
7884076   Cooper,Demitrus          C8140305     100   20190923   0133   301844      313383    9:00:00AM 8:51:00PM    1221091549   DRIVER
7884076   Cooper,Demitrus          C8140305     100   20190924   0133   301844      313383    9:00:00AM 6:30:00PM    1223120022   DRIVER
7884076   Cooper,Demitrus          C8140305     100   20190925   0133   301844      313383    9:00:00AM 6:24:00PM    1222360066   DRIVER
7884076                            C8140305     100   20190926   0133   301844      313383   10:00:00AM 5:46:00PM    1222360066   HELPER
7884076                            C8140305     100   20190927   0133   301844      313383    9:00:00AM 6:03:00PM    1223121200   HELPER
7884076                            C8140305     100   20190930   0137   301844      407162    9:24:00AM 4:46:00PM    1221041306   HELPER
7884076                            C8140305     100   20191001   0133   301844      313383    9:00:00AM 7:30:00PM    1222360066   HELPER
7884076   Cooper,Demitrus          C8140305     100   20191002   0133   301844      313383    9:00:00AM 6:31:00PM    1222100086   DRIVER
7884076   Cooper,Demitrus          C8140305     100   20191003   0133   301844      313383    9:00:00AM 6:11:00PM    1224150348   DRIVER
7884076   Cooper,Demitrus          C8140305     100   20191004   0133   301844      313383   10:00:00AM 8:31:00PM    1221091549   DRIVER
7884076   Cooper,Demitrus          C8201250    3102   20190131   0115   303037      320560    7:00:00AM 2:26:00PM    1222450808   DRIVER
7884076   Cooper,Demitrus          C8201250    3102   20190201   0115   303037      320560    8:00:00AM 1:35:00PM    1221390481   DRIVER
7884076   Cooper,Demitrus          C8201250    3102   20190202   0115   303037      320560    8:00:00AM 3:09:00PM    1221091820   DRIVER
7884076   Cooper,Demitrus          C8201250    3102   20190205   0115   303037      320560    9:00:00AM 4:23:00PM    1221010283   DRIVER
7884076   Cooper,Demitrus          C8201250    3102   20190206   0115   303037      320560    9:00:00AM 4:18:00PM    1227250696   DRIVER
7884076   Cooper,Demitrus          C8201250    3102   20190207   0115   303037      320560    8:00:00AM 3:20:00PM    1224250111   DRIVER
7884076   Cooper,Demitrus          C8201250    3102   20190208   0115   303037      320560    8:00:00AM 1:56:00PM    1223111566   DRIVER
7884076   Cooper,Demitrus          C8201250    3102   20190209   0115   303037      320560    8:00:00AM 1:58:00PM    1225180606   DRIVER
7884076   Cooper,Demitrus          C8201250    3102   20190212   0137   303037      320560    9:00:00AM 4:00:00PM    1222380120   DRIVER
7884076   Cooper,Demitrus          C8201250    3102   20190213   0137   303037      320560    8:00:00AM 1:28:00PM    1221010283   DRIVER
7884076   Cooper,Demitrus          C8201250    3102   20190214   0137   303037      320560    8:00:00AM 4:18:00PM    1222380120   DRIVER
7884076   Cooper,Demitrus          C8201250    3102   20190215   0137   303037      320560    8:00:00AM 3:39:00PM    1221041456   DRIVER
7884076   Cooper,Demitrus          C8201250    3102   20190216   0137   303037      320560    7:00:00AM 12:51:00PM   1224250076   DRIVER
7884076   Cooper,Demitrus          C8201250    3102   20190218   0137   303037      320560    8:00:00AM 1:17:00PM    1222162842   DRIVER
7884076   Cooper,Demitrus          C8201250    3102   20190219   0137   303037      320560    7:00:00AM 12:10:00PM   1224250076   DRIVER
7884076   Cooper,Demitrus          C8201250    3102   20190220   0137   303037      320560    8:00:00AM 1:25:00PM    1222171087   DRIVER
7884076   Cooper,Demitrus          C8201250    3102   20190221   0137   303037      320560    8:00:00AM 12:10:00PM   1225180606   DRIVER
                            Case 1:23-cv-01675-KAM-TAM     Document 78-10        Filed 07/09/25      Page 11 of 19 PageID
                                                                 #: 2003
7884076   Cooper,Demitrus          C8201250    3102   20190222   0137   303037       320560    8:00:00AM   4:01:00PM   1221101080   DRIVER
7884076   Cooper,Demitrus          C8201250    3102   20190223   0137   303037       320560    8:00:00AM   1:25:00PM   1222030053   DRIVER
7884076   Cooper,Demitrus          C8201250    3102   20190227   0137   303037       320560    9:00:00AM   3:42:00PM   1221041456   DRIVER
7884076   Cooper,Demitrus          C8201250    3102   20190301   0137   303037       320560    8:00:00AM   2:19:00PM   1225180606   DRIVER
7884076   Cooper,Demitrus          C8201250    3102   20190302   0137   303037       320560    8:00:00AM   2:59:00PM   1225180606   DRIVER
7884076   Cooper,Demitrus          C8201250    3102   20190305   0137   303037       320560    8:00:00AM   3:24:00PM   1225180606   DRIVER
7884076   Cooper,Demitrus          C8201250    3102   20190306   0137   303037       320560    8:00:00AM   5:23:00PM   1227250696   DRIVER
7884076                            C8201250    3102   20190308   0137   303037       320560   12:00:00PM   1:20:00PM   1221091820   HELPER
7884076   Cooper,Demitrus          C8201250    3102   20190312   0137   303037       320560    9:00:00AM   3:15:00PM   1225180606   DRIVER
7884076   Cooper,Demitrus          C8201250    3102   20190313   0137   303037       320560    9:00:00AM   5:30:00PM   1222171087   DRIVER
7884076   Cooper,Demitrus          C8250254     100   20191007   0133   301844       313383    9:00:00AM   6:08:00PM   1222172494   DRIVER
7884076   Cooper,Demitrus          C8250254     100   20191008   0133   301844       313383   10:00:00AM   6:21:00PM   1225171044   DRIVER
7884076   Cooper,Demitrus          C8250254     100   20191009   0133   301844       313383    9:00:00AM   6:05:00PM   1223170174   DRIVER
7884076   Cooper,Demitrus          C8250254     100   20191010   0133   301844       313383   10:00:00AM   6:07:00PM   1224150373   DRIVER
7884076   Cooper,Demitrus          C8250254     100   20191011   0133   301844       313383    9:00:00AM   6:04:00PM   1222140033   DRIVER
7884076   Cooper,Demitrus          C8250254     100   20191014   0133   301844       313383    9:00:00AM   6:17:00PM   1220420330   DRIVER
7884076   Cooper,Demitrus          C8250254     100   20191015   0133   301844       313383    9:00:00AM   6:33:00PM   1221090404   DRIVER
7884076   Cooper,Demitrus          C8250254     100   20191016   0133   301844       313383    9:00:00AM   6:09:00PM   1223170174   DRIVER
7884076   Cooper,Demitrus          C8250254     100   20191017   0133   301844       313383    9:00:00AM   6:08:00PM   1222140623   DRIVER
7884076   Cooper,Demitrus          C8250254     100   20191018   0133   301844       313383    9:00:00AM   6:12:00PM   1222140468   DRIVER
7884076   Cooper,Demitrus          C8250254     100   20191021   0133   301844       313383    9:00:00AM   6:39:00PM   1224150373   DRIVER
7884076   Cooper,Demitrus          C8250254     100   20191022   0133   301844       313383    9:00:00AM   6:10:00PM   1222370119   DRIVER
7884076   Cooper,Demitrus          C8250254     100   20191023   0133   301844       313383    9:00:00AM   6:06:00PM   1223121098   DRIVER
7884076   Cooper,Demitrus          C8250254     100   20191024   0133   301844       313383    9:00:00AM   6:09:00PM   1223170174   DRIVER
7884076   Cooper,Demitrus          C8250254     100   20191025   0133   301844       313383    9:00:00AM   6:22:00PM   1221180722   DRIVER
7884076   Cooper,Demitrus          C8250254     100   20191028   0133   301844       313383    9:00:00AM   7:42:00PM   1224150329   DRIVER
7884076   Cooper,Demitrus          C8250254     100   20191030   0133   301844       313383    9:00:00AM   6:05:00PM   1220440714   DRIVER
7884076   Cooper,Demitrus          C8250254     100   20191031   0133   301844       313383    9:00:00AM   6:04:00PM   1221210144   DRIVER
7884076   Cooper,Demitrus          C8250254     100   20191101   0133   301844       313383    9:00:00AM   6:23:00PM   1222050187   DRIVER
7884076   Cooper,Demitrus          C8250254     100   20191104   0133   301844       313383    9:00:00AM   6:12:00PM   1224150400   DRIVER
7884076   Cooper,Demitrus          C8250254     100   20191105   0133   301844       313383    9:00:00AM   6:14:00PM   1221380588   DRIVER
7884076   Cooper,Demitrus          C8250254     100   20191106   0133   301844       313383    9:00:00AM   6:09:00PM   1225170908   DRIVER
7884076   Cooper,Demitrus          C8250254     100   20191107   0133   301844       313383    1:00:00AM   6:09:00PM   1222370280   DRIVER
7884076   Cooper,Demitrus          C8250254     100   20191108   0133   301844       313383    9:00:00AM   6:04:00PM   1221090060   DRIVER
7884076   Cooper,Demitrus          C8250254     100   20191111   0133   301844       313383   10:00:00AM   7:30:00PM   1220420330   DRIVER
7884076   Cooper,Demitrus          C8250254     100   20191112   0133   301844       313383    9:00:00AM   6:25:00PM   1222171381   DRIVER
7884076   Cooper,Demitrus          C8250254     100   20191113   0133   301844       313383    9:00:00AM   6:06:00PM   1223120496   DRIVER
7884076   Cooper,Demitrus          C8250254     100   20191114   0133   301844       313383    9:00:00AM   6:31:00PM   1223500036   DRIVER
7884076   Cooper,Demitrus          C8250254     100   20191115   0133   301844       313383    9:00:00AM   5:54:00PM   1220420330   DRIVER
7884076   Cooper,Demitrus          C8250254     100   20191115   0133   301844       313383    9:00:00AM   5:54:00PM   1222161450   DRIVER
7884076   Cooper,Demitrus          C8250254     100   20191118   0133   301844       313383    9:00:00AM   7:24:00PM   1223160197   DRIVER
7884076   Cooper,Demitrus          C8250254     100   20191119   0133   301844       313383    9:00:00AM   6:14:00PM   1224150273   DRIVER
7884076   Cooper,Demitrus          C8250254     100   20191120   0133   301844       313383    9:00:00AM   5:46:00PM   1221091118   DRIVER
7884076   Cooper,Demitrus          C8250254     100   20191121   0133   301844       313383    9:00:00AM   6:13:00PM   1220511108   DRIVER
7884076   Cooper,Demitrus          C8250254     100   20191122   0133   301844       313383    9:00:00AM   7:20:00PM   1222180242   DRIVER
7884076   Cooper,Demitrus          C8250254     100   20191125   0133   301844       313383    9:00:00AM   6:25:00PM   1222140468   DRIVER
7884076   Cooper,Demitrus          C8250254     100   20191126   0133   301844       313383    9:00:00AM   6:31:00PM   1222140033   DRIVER
7884076   Cooper,Demitrus          C8250254     100   20191127   0133   301844       313383    9:00:00AM   7:05:00PM   1221341599   DRIVER
7884076   Cooper,Demitrus          C8250254     100   20191129   0133   301844       313383    9:00:00AM   5:05:00PM   1221210144   DRIVER
7884076   Cooper,Demitrus          C8250254     100   20191130   0133   301844       313383    9:00:00AM   4:15:00PM   1220430329   DRIVER
7884076   Cooper,Demitrus          C8250254     100   20191202   0133   301844       313383    9:00:00AM   6:28:00PM   1220340512   DRIVER
7884076   Cooper,Demitrus          C8250254     100   20191203   0133   301844       313383    9:00:00AM   6:32:00PM   1222450734   DRIVER
7884076   Cooper,Demitrus          C8250254     100   20191204   0133   301844       313383    9:00:00AM   6:06:00PM   1223470145   DRIVER
7884076   Cooper,Demitrus          C8250254     100   20191205   0133   301844       313383    9:00:00AM   6:40:00PM   1222450734   DRIVER
7884076   Cooper,Demitrus          C8250254     100   20191206   0133   301844       313383    9:00:00AM   7:29:00PM   1221181079   DRIVER
7884076   Cooper,Demitrus          C8250254     100   20191209   0133   301844       313383    9:00:00AM   9:17:00PM   1221090512   DRIVER
                            Case 1:23-cv-01675-KAM-TAM    Document 78-10        Filed 07/09/25      Page 12 of 19 PageID
                                                                #: 2004
7884076   Cooper,Demitrus          C8250254    100   20191210   0133   301844       313383    9:00:00AM   8:18:00PM    1222140033   DRIVER
7884076   Cooper,Demitrus          C8250254    100   20191211   0133   301844       313383    9:00:00AM   7:46:00PM    1220512020   DRIVER
7884076   Cooper,Demitrus          C8250254    100   20191212   0133   301844       313383    9:00:00AM   8:21:00PM    1222050100   DRIVER
7884076   Cooper,Demitrus          C8250254    100   20191213   0133   301844       313383    9:00:00AM   7:32:00PM    1221041306   DRIVER
7884076   Cooper,Demitrus          C8250254    100   20191214   0133   301844       313383    9:00:00AM   4:38:00PM    1222161450   DRIVER
7884076   Cooper,Demitrus          C8250254    100   20191216   0133   301844       313383    9:00:00AM   8:11:00PM    1222100142   DRIVER
7884076   Cooper,Demitrus          C8250254    100   20191217   0133   301844       313383    9:00:00AM   7:35:00PM    1222172505   DRIVER
7884076   Cooper,Demitrus          C8250254    100   20191218   0133   301844       313383    7:00:00AM   4:25:00PM    1221040152   DRIVER
7884076   Cooper,Demitrus          C8250254    100   20191219   0133   301844       313383    9:00:00AM   6:08:00PM    1222050293   DRIVER
7884076   Cooper,Demitrus          C8250254    100   20191220   0133   301844       313383    9:00:00AM   6:18:00PM    1221380428   DRIVER
7884076   Cooper,Demitrus          C8250254    100   20191223   0133   301844       313383    9:00:00AM   7:53:00PM    1222370280   DRIVER
7884076   Cooper,Demitrus          C8250254    100   20191224   0133   301844       313383    9:00:00AM   3:38:00PM    1221380511   DRIVER
7884076   Cooper,Demitrus          C8250254    100   20191226   0133   301844       313383    9:00:00AM   6:30:00PM    1221380511   DRIVER
7884076   Cooper,Demitrus          C8250254    100   20191227   0133   301844       313383    9:00:00AM   5:16:00PM    1221030670   DRIVER
7884076   Cooper,Demitrus          C8250254    100   20191230   0133   301844       313383    9:00:00AM   6:05:00PM    1225170203   DRIVER
7884076   Cooper,Demitrus          C8250254    100   20191231   0133   301844       313383    9:00:00AM   4:51:00PM    1225170908   DRIVER
7884076   Cooper,Demitrus          C8250254    100   20200102   0133   301844       313383    9:00:00AM   6:03:00PM    1224150196   DRIVER
7884076   Cooper,Demitrus          C8250254    100   20200103   0133   301844       313383   11:00:00AM   7:20:00PM    1223120022   DRIVER
7884076                            C8305622    100   20200225   0125   305113       313383   11:00:00AM   7:45:00PM    1221102124   HELPER
7884076                            C8305622    100   20200423   0137   305113       317158    2:00:00PM   6:41:00PM    1221341934   HELPER
7884076   Cooper,Demitrus          C8305622    100   20200427   0137   305113       83577     8:00:00AM   5:49:00PM    1221091269   DRIVER
7884076   Cooper,Demitrus          C8305622    100   20200428   0137   305113       313383    9:00:00AM   5:37:00PM    1221090467   DRIVER
7884076                            C8305622    100   20200518   0137   305113       317158    9:00:00AM   6:24:00PM    1224150348   HELPER
7884076                            C8305622    100   20200519   0137   305113       301758   11:00:00AM   8:15:00PM    1221150815   HELPER
7884076                            C8305622    100   20200520   0133   305113       313383    9:50:00AM   6:32:00PM    1222100142   HELPER
7884076                            C8305622    100   20200521   0133   305113       313383   11:00:00AM   6:06:00PM    1225170739   HELPER
7884076                            C8305622    100   20200522   0137   305113       313383   10:00:00AM   3:48:00PM    1225170908   HELPER
7884076                            C8305622    100   20200527   0133   305113       313383    9:00:00AM   6:52:00PM    1225170908   HELPER
7884076                            C8305622    100   20200528   0133   305113       313383   11:00:00AM   5:17:00PM    1222161450   HELPER
7884076                            C8305622    100   20200603   0133   305113       313383   10:14:00AM   5:30:00PM   8HKSA10044    HELPER
7884076                            C8305622    100   20200604   0133   305113       313383   10:41:00AM   5:27:00PM   8HKSA11278    HELPER
7884076                            C8305622    100   20200605   0133   305113       313383   11:32:00AM   5:19:00PM   8GKSA06435    HELPER
7884076                            C8305622    100   20200608   0133   305113       313383   11:54:00AM   7:59:00PM   8HKSA10198    HELPER
7884076                            C8305622    100   20200609   0133   305113       313383   11:36:00AM   6:30:00PM   8HKSA09954    HELPER
7884076                            C8305622    100   20200610   0133   305113       313383   10:50:00AM   6:40:00PM   8HKSA10028    HELPER
7884076                            C8305622    100   20200611   0133   305113       313383   10:05:00AM   6:55:00PM   8GKSA06308    HELPER
7884076                            C8305622    100   20200612   0133   305113       313383   10:03:00AM   7:45:00PM   8HKSA10022    HELPER
7884076                            C8305622    100   20200615   0133   305113       313383   12:13:00PM   8:14:00PM   8HKSA11278    HELPER
7884076                            C8413626    100   20200921   0137   305113       317158   10:20:00AM   7:08:00PM    N941828670   HELPER
7884076                            C8413626    100   20200922   0137   305113       317158    8:45:00AM   3:05:00PM    N941828670   HELPER
7884076                            C8413626    100   20200923   0137   305113       317158    8:49:00AM   3:35:00PM    N733420291   HELPER
7884076                            C8413626    100   20200924   0137   305113       317158    8:46:00AM   5:00:00PM    N733420291   HELPER
7884076                            C8413626    100   20200925   0137   305113       317158    7:55:00AM   6:01:00PM    N941828670   HELPER
7884076                            C8413626    100   20200928   0137   305113       37158     9:19:00AM   3:50:00PM    N733420291   HELPER
7884076                            C8413626    100   20200930   0137   305113       317158    9:00:00AM   2:54:00PM    N733420291   HELPER
7884076                            C8413626    100   20201001   0137   305113       317158    8:48:00AM   2:42:00PM    N248482198   HELPER
7884076                            C8413626    100   20201002   0137   305113       317358    9:22:00AM   3:31:00PM   8HKSA10883    HELPER
7884076                            C8413626    100   20201005   0137   305113       306564    9:31:00AM   4:33:00PM    N733420291   HELPER
7884076                            C8413626    100   20201006   0137   305113       306564    9:05:00AM   3:29:00PM    N941828670   HELPER
7884076                            C8413626    100   20201007   0137   305113       306564   10:27:00AM   2:55:00PM   8HKSA09771    HELPER
7884076                            C8413626    100   20201008   0137   305113       306564    9:25:00AM   3:05:00PM   8HKSA09771    HELPER
7884076                            C8413626    100   20201009   0137   305113       306564    8:47:00AM   2:03:00PM    N639714262   HELPER
7884076                            C8413626    100   20201012   0137   305113       306564    9:39:00AM   2:57:00PM   8HKSA10028    HELPER
7884076                            C8413626    100   20201013   0137   305113       306564    9:21:00AM   3:22:00PM   8HKSA10022    HELPER
7884076                            C8413626    100   20201014   0137   305113       306564    9:06:00AM   3:22:00PM   8HKSA10028    HELPER
7884076                            C8413626    100   20201015   0137   305113       306564    9:34:00AM   2:58:00PM   *MDR030362    HELPER
          Case 1:23-cv-01675-KAM-TAM    Document 78-10        Filed 07/09/25     Page 13 of 19 PageID
                                              #: 2005
7884076          C8413626    100   20201015   0137   305113       306564    9:34:00AM 2:58:00PM    8HKSA10082    HELPER
7884076          C8413626    100   20201016   0133   305113       313383    9:29:00AM 3:50:00PM    8HKSA10211    HELPER
7884076          C8413626    100   20201019   0137   305113       306564    9:40:00AM 4:26:00PM    8HKSA10211    HELPER
7884076          C8413626    100   20201020   0125   305113       202418   10:55:00AM 7:15:00PM    8GKSA06468    HELPER
7884076          C8413626    100   20201021   0137   305113       306564    9:38:00AM 3:14:00PM    8GKSA06435    HELPER
7884076          C8413626    100   20201022   0137   305113       317158    9:20:00AM 2:48:00PM     N941828670   HELPER
7884076          C8413626    100   20201023   0137   305113       317158    8:47:00AM 2:43:00PM     N941828670   HELPER
7884076          C8413626    100   20201027   0137   305113       317158    9:22:00AM 3:43:00PM     N248482198   HELPER
7884076          C8413626    100   20201028   0137   305113       317158    8:52:00AM 2:23:00PM     N248482198   HELPER
7884076          C8413626    100   20201029   0137   305113       317158    8:51:00AM 2:22:00PM     N248482198   HELPER
7884076          C8413626    100   20201030   0137   305113       317158    8:35:00AM 5:36:00PM     N248482198   HELPER
7884076          C8413626    100   20201102   0137   305113       317158    9:06:00AM 2:45:00PM     N226361525   HELPER
7884076          C8413626    100   20201104   0137   305113       317158    8:21:00AM 2:29:00PM     N226361525   HELPER
7884076          C8413626    100   20201105   0137   305113       317158    9:07:00AM 3:27:00PM     N226361525   HELPER
7884076          C8413626    100   20201106   0137   305113       317158    8:55:00AM 3:38:00PM     N226361525   HELPER
7884076          C8413626    100   20201109   0137   305113       317158    9:18:00AM 5:07:00PM     N226361525   HELPER
7884076          C8413626    100   20201110   0137   305113       317158    8:59:00AM 2:48:00PM     N226361525   HELPER
7884076          C8413626    100   20201111   0137   305113       317158    8:42:00AM 3:43:00PM     N226361525   HELPER
7884076          C8413626    100   20201112   0137   305113       317158    8:55:00AM 2:57:00PM     N226361525   HELPER
7884076          C8413626    100   20201113   0137   305113       317158    8:49:00AM 2:08:00PM     N226361525   HELPER
7884076          C8413626    100   20201116   0137   305113       317158    9:34:00AM 4:21:00PM     N226361525   HELPER
7884076          C8413626    100   20201117   0137   305113       317158    9:35:00AM 3:37:00PM     N226361525   HELPER
7884076          C8413626    100   20201118   0137   305113       317158    9:02:00AM 2:36:00PM     N226361525   HELPER
7884076          C8413626    100   20201119   0137   305113       317158    8:42:00AM 4:11:00PM     N226361525   HELPER
7884076          C8413626    100   20201120   0137   305113       317158    8:59:00AM 2:22:00PM     N226361525   HELPER
7884076          C8413626    100   20201123   0137   305113       317158    9:06:00AM 3:52:00PM     N226361525   HELPER
7884076          C8413626    100   20201124   0137   305113       317158    8:54:00AM 2:42:00PM     N226361525   HELPER
7884076          C8413626    100   20201125   0137   305113       317158    8:37:00AM 4:47:00PM     N226361525   HELPER
7884076          C8413626    100   20201127   0137   305113       317158    9:31:00AM 2:30:00PM     N226361525   HELPER
7884076          C8413626    100   20201129   0137   305113       317158    8:40:00AM 12:36:00PM    N941828670   HELPER
7884076          C8413626    100   20201130   0137   305113       317158    9:47:00AM 4:31:00PM     N941828670   HELPER
7884076          C8413626    100   20201201   0137   305113       317158    8:52:00AM 2:52:00PM     N733420291   HELPER
7884076          C8413626    100   20201202   0137   305113       317158    8:46:00AM 2:39:00PM     N733420291   HELPER
7884076          C8413626    100   20201203   0137   305113       317158    9:15:00AM 4:35:00PM     N733420291   HELPER
7884076          C8413626    100   20201204   0137   305113       317158    8:53:00AM 6:33:00PM     N733420291   HELPER
7884076          C8413626    100   20201207   0137   305113       317158    9:33:00AM 6:43:00PM     N941828670   HELPER
7884076          C8413626    100   20201208   0137   305113       317158    9:06:00AM 3:52:00PM     N226361525   HELPER
7884076          C8413626    100   20201209   0137   305113       317158    8:38:00AM 3:32:00PM     N226361525   HELPER
7884076          C8413626    100   20201210   0137   305113       317158    9:24:00AM 5:39:00PM     N226361525   HELPER
7884076          C8413626    100   20201211   0137   305113       317158    9:15:00AM 3:31:00PM     N226361525   HELPER
7884076          C8413626    100   20201214   0137   305113       317158    9:53:00AM 4:53:00PM     N226361525   HELPER
7884076          C8413626    100   20201215   0137   305113       317158    9:34:00AM 4:07:00PM     N226361525   HELPER
7884076          C8413626    100   20201216   0137   305113       317158    8:15:00AM 2:18:00PM     N226361525   HELPER
7884076          C8413626    100   20201217   0137   305113       317158    7:41:00AM 10:36:00AM    N226361525   HELPER
7884076          C8413626    100   20201218   0137   305113       317158    9:20:00AM 4:08:00PM     N226361525   HELPER
7884076          C8413626    100   20201219   0137   305113       317158    9:07:00AM 1:18:00PM     N226361525   HELPER
7884076          C8413626    100   20201221   0137   305113       317158    9:50:00AM 5:14:00PM     N226361525   HELPER
7884076          C8413626    100   20201222   0137   305113       317158    9:02:00AM 2:51:00PM     N226361525   HELPER
7884076          C8413626    100   20201223   0137   305113       317158    8:41:00AM 4:32:00PM     N226361525   HELPER
7884076          C8413626    100   20201224   0137   305113       317158    8:15:00AM 12:53:00PM    N226361525   HELPER
7884076          C8413626    100   20201228   0137   305113       317158    8:53:00AM 4:16:00PM     N226361525   HELPER
7884076          C8413626    100   20201229   0137   305113       317158    8:23:00AM 2:59:00PM     N226361525   HELPER
7884076          C8413626    100   20201230   0137   305113       317158    8:46:00AM 4:53:00PM     N226361525   HELPER
7884076          C8413626    100   20201231   0137   305113       317158    8:27:00AM 1:30:00PM     N226361525   HELPER
7884076          C8413626    100   20210104   0137   305113       317158    9:54:00AM 4:29:00PM     N226361525   HELPER
7884076          C8413626    100   20210105   0137   305113       317158    9:01:00AM 3:21:00PM     N226361525   HELPER
          Case 1:23-cv-01675-KAM-TAM    Document 78-10        Filed 07/09/25      Page 14 of 19 PageID
                                              #: 2006
7884076          C8413626    100   20210106   0137   305113       317158    8:51:00AM   2:36:00PM   N226361525   HELPER
7884076          C8413626    100   20210107   0137   305113       317158    9:03:00AM   4:33:00PM   N226361525   HELPER
7884076          C8413626    100   20210108   0137   305113       317158    9:01:00AM   2:21:00PM   N226361525   HELPER
7884076          C8413626    100   20210111   0137   305113       317158    9:54:00AM   5:36:00PM   8HKSA10022   HELPER
7884076          C8413626    100   20210112   0137   305113       317158    9:19:00AM   5:35:00PM   N226361525   HELPER
7884076          C8413626    100   20210113   0137   305113       317158    8:39:00AM   3:55:00PM   N226361525   HELPER
7884076          C8413626    100   20210114   0137   305113       317158    9:23:00AM   5:27:00PM   N226361525   HELPER
7884076          C8413626    100   20210115   0137   305113       317158    9:11:00AM   3:16:00PM   N226361525   HELPER
7884076          C8413626    100   20210118   0137   305113       317158   10:39:00AM   6:15:00PM   N226361525   HELPER
7884076          C8413626    100   20210119   0137   305113       317158    9:45:00AM   4:59:00PM   N248482198   HELPER
7884076          C8413626    100   20210120   0137   305113       317158    9:07:00AM   2:45:00PM   N248482198   HELPER
7884076          C8413626    100   20210121   0137   305113       317158    9:17:00AM   5:12:00PM   N248482198   HELPER
7884076          C8413626    100   20210122   0137   305113       317158    8:27:00AM   2:58:00PM   N248482198   HELPER
7884076          C8413626    100   20210125   0137   305113       317158    9:35:00AM   5:58:00PM   N248482198   HELPER
7884076          C8413626    100   20210126   0137   305113       317158    9:32:00AM   4:58:00PM   N248482198   HELPER
7884076          C8413626    100   20210127   0137   305113       317158    9:16:00AM   4:29:00PM   N248482198   HELPER
7884076          C8413626    100   20210128   0137   305113       317158   10:02:00AM   6:51:00PM   8HKSA09921   HELPER
7884076          C8413626    100   20210129   0137   305113       317158    8:56:00AM   4:08:00PM   N248482198   HELPER
7884076          C8413626    100   20210202   0137   305113       317158    8:26:00AM   6:10:00PM   N248482198   HELPER
7884076          C8413626    100   20210203   0137   305113       317158    9:18:00AM   3:17:00PM   N248482198   HELPER
7884076          C8413626    100   20210204   0137   305113       317158    9:28:00AM   6:35:00PM   N248482198   HELPER
7884076          C8413626    100   20210205   0137   305113       317158    9:37:00AM   4:19:00PM   N248482198   HELPER
7884076          C8413626    100   20210208   0137   305113       317158    9:18:00AM   5:06:00PM   N248482198   HELPER
7884076          C8413626    100   20210209   0137   305113       317158    9:36:00AM   4:48:00PM   N248482198   HELPER
7884076          C8413626    100   20210210   0137   305113       317158    9:24:00AM   2:50:00PM   N248482198   HELPER
7884076          C8413626    100   20210211   0137   305113       317158    9:18:00AM   3:54:00PM   N248482198   HELPER
7884076          C8413626    100   20210212   0137   305113       317158    8:51:00AM   4:41:00PM   N248482198   HELPER
7884076          C8413626    100   20210215   0137   305113       317158   10:09:00AM   6:30:00PM   N248482198   HELPER
7884076          C8413626    100   20210216   0137   305113       317158    8:42:00AM   2:21:00PM   N248482198   HELPER
7884076          C8413626    100   20210217   0137   305113       317158    8:48:00AM   2:05:00PM   N248482198   HELPER
7884076          C8413626    100   20210218   0137   305113       317158    8:29:00AM   2:17:00PM   N248482198   HELPER
7884076          C8413626    100   20210219   0137   305113       317158    8:13:00AM   2:21:00PM   N248482198   HELPER
7884076          C8413626    100   20210222   0137   305113       317158    9:06:00AM   3:58:00PM   N248482198   HELPER
7884076          C8413626    100   20210223   0137   305113       317158    9:10:00AM   3:55:00PM   N248482198   HELPER
7884076          C8413626    100   20210224   0137   305113       317158    8:32:00AM   4:15:00PM   N248482198   HELPER
7884076          C8413626    100   20210225   0137   305113       317158    8:50:00AM   4:41:00PM   N248482198   HELPER
7884076          C8413626    100   20210226   0137   305113       317158    9:16:00AM   3:07:00PM   N248482198   HELPER
7884076          C8413626    100   20210301   0137   305113       317158   10:02:00AM   5:15:00PM   N248482198   HELPER
7884076          C8413626    100   20210302   0137   305113       317158    8:57:00AM   3:20:00PM   N248482198   HELPER
7884076          C8413626    100   20210303   0137   305113       317158    9:21:00AM   3:30:00PM   N248482198   HELPER
7884076          C8413626    100   20210304   0137   305113       317158    9:07:00AM   4:26:00PM   N248482198   HELPER
7884076          C8413626    100   20210305   0137   305113       317158    8:44:00AM   2:20:00PM   N248482198   HELPER
7884076          C8413626    100   20210308   0137   305113       317158    9:11:00AM   4:16:00PM   N248482198   HELPER
7884076          C8413626    100   20210309   0137   305113       317158    8:52:00AM   2:44:00PM   N248482198   HELPER
7884076          C8413626    100   20210310   0137   305113       317158    8:45:00AM   4:04:00PM   N248482198   HELPER
7884076          C8413626    100   20210311   0137   305113       317158    8:46:00AM   5:18:00PM   N248482198   HELPER
7884076          C8413626    100   20210312   0137   305113       317158    8:39:00AM   3:23:00PM   N248482198   HELPER
7884076          C8413626    100   20210315   0137   305113       317158   10:08:00AM   5:36:00PM   *MDR502204   HELPER
7884076          C8413626    100   20210315   0137   305113       317158   10:08:00AM   5:36:00PM   *MDR502206   HELPER
7884076          C8413626    100   20210315   0137   305113       317158   10:08:00AM   5:36:00PM   N248482198   HELPER
7884076          C8413626    100   20210316   0137   305113       317158    9:12:00AM   4:00:00PM   N248482198   HELPER
7884076          C8413626    100   20210317   0137   305113       317158    9:13:00AM   3:14:00PM   N248482198   HELPER
7884076          C8413626    100   20210318   0137   305113       317158    9:13:00AM   5:10:00PM   N248482198   HELPER
7884076          C8413626    100   20210319   0137   305113       317158    8:39:00AM   4:57:00PM   N248482198   HELPER
7884076          C8413626    100   20210322   0137   305113       317158   10:02:00AM   3:41:00PM   N248482198   HELPER
7884076          C8413626    100   20210324   0137   305113       317158    8:38:00AM   3:30:00PM   8HKSA10028   HELPER
                          Case 1:23-cv-01675-KAM-TAM    Document 78-10        Filed 07/09/25      Page 15 of 19 PageID
                                                              #: 2007
7884076                          C8413626    100   20210325   0137   305113       317158    8:40:00AM   2:30:00PM   8HKSA10028   HELPER
7884076                          C8413626    100   20210326   0137   305113       317158    8:45:00AM   2:26:00PM   8HKSA10028   HELPER
7884076                          C8413626    100   20210329   0137   305113       317158    8:58:00AM   3:42:00PM   8HKSA11278   HELPER
7884076                          C8413626    100   20210330   0137   305113       317158    9:00:00AM   3:06:00PM   *MDR572784   HELPER
7884076                          C8413626    100   20210330   0137   305113       317158    9:00:00AM   3:06:00PM   8HKSA11278   HELPER
7884076                          C8413626    100   20210331   0137   305113       317158    9:05:00AM   3:59:00PM   8HKSA11278   HELPER
7884076                          C8413626    100   20210401   0137   305113       317158    9:05:00AM   5:04:00PM   8HKSA10198   HELPER
7884076                          C8413626    100   20210402   0137   305113       317158    9:01:00AM   3:27:00PM   8HKSA10198   HELPER
7884076                          C8413626    100   20210405   0137   305113       195822   10:31:00AM   7:15:00PM   N248482198   HELPER
7884076                          C8413626    100   20210406   0137   305113       317158    8:34:00AM   6:35:00PM   N248482198   HELPER
7884076                          C8413626    100   20210407   0137   305113       295991    9:13:00AM   3:00:00PM   8HKSA10198   HELPER
7884076                          C8413626    100   20210408   0137   305113       317158    9:36:00AM   2:45:00PM   N248482198   HELPER
7884076                          C8413626    100   20210409   0137   305113        31758    9:42:00AM   4:33:00PM   N248482198   HELPER
7884076                          C8413626    100   20210412   0137   305113       317158    9:53:00AM   5:01:00PM   N639714262   HELPER
7884076                          C8413626    100   20210413   0137   305113       317158    9:46:00AM   3:00:00PM   N639714262   HELPER
7884076                          C8413626    100   20210414   0137   305113       317158   10:10:00AM   3:15:00PM   N639714262   HELPER
7884076                          C8413626    100   20210415   0137   305113       317158    9:49:00AM   3:45:00PM   N639714262   HELPER
7884076                          C8413626    100   20210416   0137   305113       315178   10:08:00AM   4:32:00PM   8HKSA10044   HELPER
7884076                          C8413626    100   20210419   0137   305113       317158    8:52:00AM   4:47:00PM   N639714262   HELPER
7884076                          C8413626    100   20210420   0137   305113       317158   10:43:00AM   3:30:00PM   N226361525   HELPER
7884076                          C8413626    100   20210421   0137   305113       317158    8:43:00AM   5:05:00PM   N639714262   HELPER
7884076                          C8413626    100   20210422   0137   305113       317158    9:04:00AM   3:03:00PM   N639714262   HELPER
7884076                          C8413626    100   20210423   0133   305113       313383   10:41:00AM   2:46:00PM   8HKSA09771   HELPER
7884076                          C8413626    100   20210426   0137   305113       317158    9:07:00AM   3:40:00PM   N226361525   HELPER
7884076                          C8413626    100   20210427   0137   305113       317158    9:13:00AM   4:24:00PM   N226361525   HELPER
7884076                          C8413626    100   20210428   0137   305113       317158    8:37:00AM   3:26:00PM   N226361525   HELPER
7884076                          C8413626    100   20210429   0137   305113       317158    9:24:00AM   5:03:00PM   N226361525   HELPER
7884076                          C8413626    100   20210430   0137   305113       317158    9:20:00AM   3:45:00PM   N226361525   HELPER
7884076                          C8413626    100   20210503   0137   305113       317158    9:16:00AM   4:07:00PM   N226361525   HELPER
7884076                          C8413626    100   20210504   0137   305113       317158    9:25:00AM   4:30:00PM   N226361525   HELPER
7884076                          C8413626    100   20210505   0137   305113       317158    8:42:00AM   2:40:00PM   N226361525   HELPER
7884076                          C8413626    100   20210506   0137   305113       317158    8:57:00AM   3:39:00PM   N226361525   HELPER
7884076                          C8413626    100   20210507   0137   305113       83577     9:33:00AM   4:33:00PM   *MDR688231   HELPER
7884076                          C8413626    100   20210507   0137   305113       83577     9:33:00AM   4:33:00PM   *MDR688255   HELPER
7884076                          C8413626    100   20210507   0137   305113       83577     9:33:00AM   4:33:00PM   N226361525   HELPER
7884076                          C8413626    100   20210510   0137   305113       317158    9:11:00AM   4:05:00PM   N226361525   HELPER
7884076                          C8413626    100   20210511   0137   305113       317158    9:57:00AM   3:55:00PM   N226361525   HELPER
7884076                          C8413626    100   20210512   0137   305113       317158    9:26:00AM   4:06:00PM   N226361525   HELPER
7884076                          C8413626    100   20210513   0137   305113       306564    9:48:00AM   4:13:00PM   N226361525   HELPER
7884076                          C8413626    100   20210514   0137   305113       306564    8:30:00AM   4:20:00PM   N226361525   HELPER
7884076                          C8413626    100   20210517   0137   305113       306564   10:02:00AM   5:49:00PM   N226361525   HELPER
7884076                          C8413626    100   20210518   0137   305113       306564    9:34:00AM   4:56:00PM   N226361525   HELPER
7884076                          C8413626    100   20210519   0137   305113       306564    8:58:00AM   6:14:00PM   N226361525   HELPER
7884076                          C8413626    100   20210520   0137   305113       306564    9:05:00AM   6:29:00PM   *MDR750415   HELPER
7884076                          C8413626    100   20210520   0137   305113       306564    9:05:00AM   6:29:00PM   N226361525   HELPER
7884076                          C8413626    100   20210521   0137   305113       306564    8:30:00AM   5:34:00PM   N226361525   HELPER
7884076                          C8413626    100   20210526   0137   305113       317158    8:55:00AM   5:09:00PM   N941828670   HELPER
7884076                          C8413626    100   20210527   0137   305113       317158    9:20:00AM   5:36:00PM   N941828670   HELPER
7884076                          C8413626    100   20210528   0137   305113       317158    9:18:00AM   5:22:00PM   N941828670   HELPER
7884076                          C8413626    100   20210601   0137   305113       317158    9:09:00AM   5:47:00PM   N941828670   HELPER
7884076                          C8413626    100   20210602   0137   305113       317158    9:33:00AM   5:28:00PM   N941828670   HELPER
7884076                          C8413626    100   20210603   0137   305113       317158   11:04:00AM   5:52:00PM   N941828670   HELPER
7884076                          C8413626    100   20210604   0137   305113       317158    9:08:00AM   3:59:00PM   N941828670   HELPER
7884076                          C8413626    100   20210607   0137   305113       317158    9:58:00AM   6:26:00PM   N941828670   HELPER
7884076                          C8596888    114   20210609   0313   301983       82266    10:19:00AM   5:43:00PM   9EKSA51759   HELPER
7884076 Cooper,Demitrus          C8697652    103   20220609   0370   303335       83986     9:46:00AM   5:18:00PM   N928959312   DRIVER
                            Case 1:23-cv-01675-KAM-TAM    Document 78-10        Filed 07/09/25      Page 16 of 19 PageID
                                                                #: 2008
7884076   Cooper,Demitrus          C8697652    103   20220610   0370   303335       83986     9:27:00AM    4:14:00PM   *MDR542912   DRIVER
7884076   Cooper,Demitrus          C8697652    103   20220610   0370   303335       83986     9:27:00AM    4:14:00PM   N928959312   DRIVER
7884076   Cooper,Demitrus          C8697652    103   20220611   0370   303335       83986     8:17:00AM   12:42:00PM   N928959312   DRIVER
7884076   Cooper,Demitrus          C8697652    103   20220614   0370   303335       83986     8:51:00AM    3:43:00PM   N928959312   DRIVER
7884076   Cooper,Demitrus          C8697652    103   20220615   0370   303335       83986     9:07:00AM    4:28:00PM   N928959312   DRIVER
7884076   Cooper,Demitrus          C8697652    103   20220616   0370   303335       83986    10:07:00AM    6:01:00PM   N928959312   DRIVER
7884076   Cooper,Demitrus          C8697652    103   20220617   0370   303335       85222     9:03:00AM    4:00:00PM   *MDR573681   DRIVER
7884076   Cooper,Demitrus          C8697652    103   20220617   0370   303335       85222     9:03:00AM    4:00:00PM   N928959312   DRIVER
7884076   Cooper,Demitrus          C8697652    103   20220618   0370   303335       83986     8:03:00AM   12:44:00PM   N928959312   DRIVER
7884076   Cooper,Demitrus          C8697652    103   20220621   0370   303335       85222     9:19:00AM    3:38:00PM   N251867865   DRIVER
7884076   Cooper,Demitrus          C8697652    103   20220623   0370   303335       85222     9:39:00AM    4:57:00PM   N997412328   DRIVER
7884076   Cooper,Demitrus          C8697652    103   20220624   0370   303335       85222     9:20:00AM    3:53:00PM   N997412328   DRIVER
7884076   Cooper,Demitrus          C8697652    103   20220625   0370   303335       85222     8:22:00AM   12:50:00PM   N997412328   DRIVER
7884076   Cooper,Demitrus          C8697652    103   20220628   0370   303335       85222    10:04:00AM    4:00:00PM   *MDR622073   DRIVER
7884076   Cooper,Demitrus          C8697652    103   20220628   0370   303335       85222    10:04:00AM    4:00:00PM   N652850174   DRIVER
7884076   Cooper,Demitrus          C8697652    103   20220629   0370   303335       85222     9:19:00AM    5:01:00PM   N652850174   DRIVER
7884076   Cooper,Demitrus          C8777261    100   20220706   0133   305113       313383    9:12:00AM    4:23:00PM   8HKSA09954   DRIVER
7884076   Cooper,Demitrus          C8777261    100   20220707   0133   305113       313383    9:09:00AM    3:30:00PM   9BKSA34415   DRIVER
7884076   Cooper,Demitrus          C8777261    100   20220708   0133   305113       313383    8:56:00AM    4:12:00PM   8HKSA10009   DRIVER
7884076   Cooper,Demitrus          C8777261    100   20220709   0133   305113       313383    9:01:00AM    3:36:00PM   8HKSA09859   DRIVER
7884076   Cooper,Demitrus          C8777261    100   20220712   0133   305113       313383    8:29:00AM    5:09:00PM   8HKSA09954   DRIVER
7884076   Cooper,Demitrus          C8777261    100   20220713   0133   305113       313383    9:37:00AM    4:18:00PM   9BKSA34415   DRIVER
7884076   Cooper,Demitrus          C8777261    100   20220714   0133   305113       313383    9:16:00AM    4:38:00PM   8HKSA10198   DRIVER
7884076   Cooper,Demitrus          C8777261    100   20220715   0133   305113       313383    9:38:00AM    5:02:00PM   8HKSA09987   DRIVER
7884076   Cooper,Demitrus          C8777261    100   20220716   0133   305113       313383    9:09:00AM    2:43:00PM   8HKSA10082   DRIVER
7884076   Cooper,Demitrus          C8777261    100   20220719   0133   305113       313383   11:21:00AM    4:36:00PM   8GKSA06468   DRIVER
7884076   Cooper,Demitrus          C8777261    100   20220720   0133   305113       313383    9:22:00AM    6:23:00PM   8HKSA11278   DRIVER
7884076   Cooper,Demitrus          C8777261    100   20220721   0133   305113       313383    9:53:00AM    6:19:00PM   *MDR750479   DRIVER
7884076   Cooper,Demitrus          C8777261    100   20220721   0133   305113       313383    9:53:00AM    6:19:00PM   9BKSA34415   DRIVER
7884076   Cooper,Demitrus          C8777261    100   20220722   0133   305113       313383    9:29:00AM    5:18:00PM   *MDR750477   DRIVER
7884076   Cooper,Demitrus          C8777261    100   20220722   0133   305113       313383    9:29:00AM    5:18:00PM   *MDR750479   DRIVER
7884076   Cooper,Demitrus          C8777261    100   20220722   0133   305113       313383    9:29:00AM    5:18:00PM   8HKSA09954   DRIVER
7884076   Cooper,Demitrus          C8777261    100   20220723   0133   305113       313383    8:32:00AM    3:18:00PM   8HKSA10198   DRIVER
7884076   Cooper,Demitrus          C8777261    100   20220726   0133   305113       313383    9:14:00AM    4:02:00PM   8HKSA09859   DRIVER
7884076   Cooper,Demitrus          C8777261    100   20220727   0133   305113       313383   10:07:00AM    6:10:00PM   9BKSA34415   DRIVER
7884076   Cooper,Demitrus          C8777261    100   20220728   0133   305113       313383    9:23:00AM    5:12:00PM   8HKSA09859   DRIVER
7884076   Cooper,Demitrus          C8777261    100   20220729   0133   305113       313383    9:04:00AM    5:00:00PM   8HKSA10045   DRIVER
7884076   Cooper,Demitrus          C8777261    100   20220730   0133   305113       313383    8:32:00AM    1:50:00PM   9BKSA34415   DRIVER
7884076   Cooper,Demitrus          C8777261    100   20220802   0133   305113       313383    8:45:00AM    4:42:00PM   8GKSA06335   DRIVER
7884076   Cooper,Demitrus          C8777261    100   20220803   0133   305113       313383    9:11:00AM    5:10:00PM   8GKSA06468   DRIVER
7884076   Cooper,Demitrus          C8777261    100   20220804   0133   305113       313383    9:17:00AM    4:49:00PM   8HKSA09954   DRIVER
7884076   Cooper,Demitrus          C8777261    100   20220805   0133   305113       313383    9:17:00AM    3:58:00PM   8HKSA10028   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20220806   0133   305113       313383    8:38:00AM    1:23:00PM   8HKSA10044   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20220809   0133   305113       313383    9:01:00AM    4:46:00PM   8HKSA10045   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20220810   0133   305113       313383    8:56:00AM    4:58:00PM   8GKSA06152   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20220811   0133   305113       313383    9:11:00AM    4:26:00PM   8HKSA10022   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20220812   0133   305113       313383    8:56:00AM    3:55:00PM   9BKSA34415   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20220813   0133   305113       313383    8:20:00AM    2:36:00PM   9BKSA34415   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20220816   0133   305113       313383    9:00:00AM    2:51:00PM   8HKSA10082   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20220817   0133   305113       313383    9:28:00AM    3:53:00PM   *MDR832803   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20220817   0133   305113       313383    9:28:00AM    3:53:00PM   8HKSA10363   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20220818   0133   305113       313383    9:00:00AM    4:56:00PM   8HKSA10045   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20220819   0133   305113       313383    8:50:00AM    5:26:00PM   8HKSA10044   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20220822   0133   305113       313383    9:46:00AM    4:49:00PM   *MDR851379   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20220822   0133   305113       313383    9:46:00AM    4:49:00PM   *MDR853922   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20220822   0133   305113       313383    9:46:00AM    4:49:00PM   *MDR853966   DRIVER
                            Case 1:23-cv-01675-KAM-TAM    Document 78-10        Filed 07/09/25      Page 17 of 19 PageID
                                                                #: 2009
7884076   Cooper,Demitrus          C8866074    100   20220822   0133   305113       313383    9:46:00AM   4:49:00PM   *MDR853996   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20220822   0133   305113       313383    9:46:00AM   4:49:00PM   8HKSA10028   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20220823   0133   305113       313383    8:53:00AM   4:09:00PM   8HKSA10028   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20220824   0133   305113       313383    9:12:00AM   4:20:00PM   *MDR862524   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20220824   0133   305113       313383    9:12:00AM   4:20:00PM   8HKSA10028   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20220825   0133   305113       313383    9:22:00AM   4:30:00PM   8HKSA10009   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20220826   0133   305113       313383    9:14:00AM   5:12:00PM   *MDR872673   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20220826   0133   305113       313383    9:14:00AM   5:12:00PM   8HKSA10028   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20220829   0133   305113       313383    9:03:00AM   3:50:00PM   *MDR880084   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20220829   0133   305113       313383    9:03:00AM   3:50:00PM   8GKSA06468   DRIVER
7884076                            C8866074    100   20220830   0133   305113       313383   10:32:00AM   4:43:00PM   8GKSA06468   HELPER
7884076                            C8866074    100   20220831   0133   305113       313383    9:45:00AM   4:42:00PM   *MDR891044   HELPER
7884076                            C8866074    100   20220831   0133   305113       313383    9:45:00AM   4:42:00PM   8GKSA06335   HELPER
7884076   Cooper,Demitrus          C8866074    100   20220903   0133   305113       313383    8:46:00AM   3:44:00PM   8GKSA06152   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20220906   0133   305113       313383    9:44:00AM   6:26:00PM   8HKSA09921   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20220907   0133   305113       313383    8:54:00AM   4:39:00PM   *MDR915932   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20220907   0133   305113       313383    8:54:00AM   4:39:00PM   8HKSA09921   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20220908   0133   305113       313383   10:59:00AM   5:31:00PM   9BKSA34415   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20220909   0133   305113       313383    9:38:00AM   6:03:00PM   8HKSA09987   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20220910   0133   305113       313383    9:00:00AM   4:09:00PM   8GKSA06468   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20220913   0133   305113       313383   10:08:00AM   5:14:00PM   8HKSA10082   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20220914   0133   305113       313383    9:22:00AM   6:19:00PM   *MDR946376   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20220914   0133   305113       313383    9:22:00AM   6:19:00PM   8HKSA10082   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20220915   0133   305113       313383    9:16:00AM   5:58:00PM   8HKSA10045   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20220916   0133   305113       313383    9:39:00AM   5:30:00PM   8HKSA09954   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20220917   0133   305113       313383    9:16:00AM   3:12:00PM   8GKSA06468   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20220920   0139   305113       317158   10:25:00AM   5:29:00PM   8HKSA09954   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20220921   0133   305113       313383    9:06:00AM   5:19:00PM   *MDR975468   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20220921   0133   305113       313383    9:06:00AM   5:19:00PM   8HKSA09987   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20220922   0133   305113       313383    9:11:00AM   4:42:00PM   *MDR981046   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20220922   0133   305113       313383    9:11:00AM   4:42:00PM   8HKSA10045   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20220923   0133   305113       313383    8:53:00AM   4:37:00PM   8GKSA06468   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20220924   0133   305113       313383   10:26:00AM   3:18:00PM   8HKSA10022   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20220927   0133   305113       313383    8:43:00AM   2:20:00PM   *MDR997180   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20220927   0133   305113       313383    8:43:00AM   2:20:00PM   8HKSA11278   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20220928   0133   305113       313383    9:05:00AM   5:21:00PM   8HKSA11278   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20220929   0133   305113       313383   10:15:00AM   3:39:00PM   8HKSA09954   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20220930   0133   305113       313383   10:13:00AM   3:22:00PM   8HKSA11278   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20221001   0133   305113       313383    9:30:00AM   2:43:00PM   9BKSA34415   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20221004   0133   305113       313383    9:17:00AM   3:47:00PM   *MDR023105   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20221004   0133   305113       313383    9:17:00AM   3:47:00PM   N626893479   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20221005   0133   305113       313383    9:15:00AM   3:29:00PM   *MDR028757   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20221005   0133   305113       313383    9:15:00AM   3:29:00PM   N626893479   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20221006   0133   305113       313383    9:37:00AM   4:45:00PM   N626893479   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20221007   0133   305113       313383    9:05:00AM   4:35:00PM   *MDR038333   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20221007   0133   305113       313383    9:05:00AM   4:35:00PM   N626893479   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20221008   0133   305113       313383    9:27:00AM   4:06:00PM   N626893479   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20221009   0133   305113       313383    8:37:00AM   2:56:00PM   N626893479   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20221011   0133   305113       313383    9:16:00AM   3:00:00PM   *MDR049428   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20221011   0133   305113       313383    9:16:00AM   3:00:00PM   N626893479   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20221012   0133   305113       313383    9:35:00AM   4:17:00PM   *MDR054780   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20221012   0133   305113       313383    9:35:00AM   4:17:00PM   N626893479   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20221013   0133   305113       313383    9:42:00AM   4:15:00PM   N626893479   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20221014   0133   305113       313383   10:06:00AM   4:59:00PM   *MDR064445   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20221014   0133   305113       313383   10:06:00AM   4:59:00PM   N626893479   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20221015   0133   305113       313383    8:52:00AM   2:53:00PM   N626893479   DRIVER
                            Case 1:23-cv-01675-KAM-TAM    Document 78-10        Filed 07/09/25      Page 18 of 19 PageID
                                                                #: 2010
7884076   Cooper,Demitrus          C8866074    100   20221018   0133   305113       313383    8:46:00AM    3:12:00PM   *MDR075426   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20221018   0133   305113       313383    8:46:00AM    3:12:00PM   N626893479   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20221019   0133   305113       313383    9:14:00AM    4:51:00PM   N626893479   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20221020   0133   305113       313383    9:41:00AM    4:40:00PM   *MDR089693   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20221020   0133   305113       313383    9:41:00AM    4:40:00PM   N626893479   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20221021   0133   305113       313383    9:43:00AM    3:56:00PM   *MDR095924   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20221021   0133   305113       313383    9:43:00AM    3:56:00PM   N626893479   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20221023   0133   305113       313383    8:32:00AM   12:32:00PM   N626893479   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20221024   0133   305113       313383    8:30:00AM    3:05:00PM   N626893479   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20221025   0133   305113       313383    9:34:00AM    4:13:00PM   *MDR112944   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20221025   0133   305113       313383    9:34:00AM    4:13:00PM   N626893479   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20221026   0133   305113       313383    9:03:00AM    2:28:00PM   *MDR121184   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20221026   0133   305113       313383    9:03:00AM    2:28:00PM   N626893479   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20221027   0133   305113       313383    8:44:00AM    2:37:00PM   *MDR128820   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20221027   0133   305113       313383    8:44:00AM    2:37:00PM   N626893479   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20221028   0133   305113       313383    9:11:00AM    2:43:00PM   *MDR135047   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20221028   0133   305113       313383    9:11:00AM    2:43:00PM   N626893479   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20221029   0133   305113       313383    8:47:00AM    2:32:00PM   8HKSA10198   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20221030   0133   305113       313383    8:24:00AM    1:20:00PM   8GKSA06468   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20221101   0133   305113       313383    9:10:00AM    4:15:00PM   8HKSA10045   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20221102   0133   305113       313383    9:41:00AM    4:45:00PM   *MDR155485   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20221102   0133   305113       313383    9:41:00AM    4:45:00PM   N626893479   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20221103   0133   305113       313383    9:46:00AM    5:13:00PM   *MDR161807   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20221103   0133   305113       313383    9:46:00AM    5:13:00PM   N626893479   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20221104   0133   305113       313383    8:41:00AM    3:12:00PM   N626893479   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20221106   0133   305113       313383    8:20:00AM    3:04:00PM   N626893479   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20221108   0133   305113       313383    8:30:00AM    3:41:00PM   *MDR178507   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20221108   0133   305113       313383    8:30:00AM    3:41:00PM   N626893479   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20221109   0133   305113       313383    8:22:00AM    3:27:00PM   N626893479   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20221110   0133   305113       313383   10:15:00AM    2:23:00PM   N626893479   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20221111   0133   305113       313383    8:40:00AM    5:03:00PM   N626893479   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20221112   0133   305113       313383    8:19:00AM    4:04:00PM   N626893479   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20221113   0133   305113       313383    8:23:00AM    3:19:00PM   N626893479   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20221115   0133   305113       313383   10:20:00AM    2:43:00PM   *MDR205934   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20221115   0133   305113       313383   10:20:00AM    2:43:00PM   N626893479   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20221116   0133   305113       313383    9:27:00AM    3:38:00PM   *MDR211953   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20221116   0133   305113       313383    9:27:00AM    3:38:00PM   N626893479   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20221118   0133   305113       313383    9:23:00AM    3:41:00PM   *MDR222374   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20221118   0133   305113       313383    9:23:00AM    3:41:00PM   N626893479   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20221119   0133   305113       313383    9:56:00AM    2:39:00PM   N626893479   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20221120   0133   305113       313383    9:07:00AM    4:36:00PM   N626893479   DRIVER
7884076                            C8866074    100   20221121   0133   305113       313383   10:46:00AM    3:43:00PM   *MDR230858   HELPER
7884076                            C8866074    100   20221121   0133   305113       313383   10:46:00AM    3:43:00PM   N626893479   HELPER
7884076   Cooper,Demitrus          C8866074    100   20221122   0133   305113       313383    9:42:00AM    6:05:00PM   N626893479   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20221123   0133   305113       313383    9:16:00AM    3:57:00PM   N626893479   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20221125   0133   305113       313383   10:03:00AM    5:33:00PM   N626893479   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20221126   0133   305113       313383    8:51:00AM    4:10:00PM   N626893479   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20221127   0133   305113       313383    9:01:00AM    3:53:00PM   N626893479   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20221128   0133   305113       313383    9:43:00AM    3:33:00PM   *MDR256867   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20221128   0133   305113       313383    9:43:00AM    3:33:00PM   N626893479   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20221129   0133   305113       313383   10:03:00AM    5:49:00PM   8HKSA10028   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20221130   0133   305113       313383    9:56:00AM    7:22:00PM   *MDR268256   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20221130   0133   305113       313383    9:56:00AM    7:22:00PM   N626893479   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20221201   0133   305113       313383   10:11:00AM    6:37:00PM   N626893479   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20221202   0133   305113       313383    4:28:00PM    7:34:00PM   *MDR279587   DRIVER
7884076   Cooper,Demitrus          C8866074    100   20221202   0133   305113       313383    4:28:00PM    7:34:00PM   N626893479   DRIVER
                            Case 1:23-cv-01675-KAM-TAM     Document 78-10        Filed 07/09/25      Page 19 of 19 PageID
                                                                 #: 2011
7884076                            C8866074     100   20221202   0133   305113       313383    4:28:00PM   7:34:00PM   8HKSA10022   HELPER
7884076   Cooper,Demitrus          C8866074     100   20221203   0139   305113       317158    9:43:00AM   4:59:00PM   N626893479   DRIVER
7884076   Cooper,Demitrus          C8866074     100   20221204   0133   305113       313383   10:23:00AM   5:00:00PM   N626893479   DRIVER
7884076                            C8866074     100   20221205   0139   305113       317158   11:54:00AM   4:16:00PM   8HKSA09067   HELPER
7884076   Cooper,Demitrus          C8866074     100   20221206   0133   305113       313383   10:18:00AM   5:46:00PM   *MDR296287   DRIVER
7884076   Cooper,Demitrus          C8866074     100   20221206   0133   305113       313383   10:18:00AM   5:46:00PM   N626893479   DRIVER
7884076   Cooper,Demitrus          C8866074     100   20221207   0133   305113       313383    9:55:00AM   6:56:00PM   N626893479   DRIVER
7884076   Cooper,Demitrus          C8866074     100   20221208   0133   305113       313383    3:46:00PM   7:09:00PM   *MDR311687   DRIVER
7884076   Cooper,Demitrus          C8866074     100   20221208   0133   305113       313383    3:46:00PM   7:09:00PM   N626893479   DRIVER
7884076                            C8866074     100   20221208   0133   305113       313383    3:46:00PM   7:09:00PM   8HKSA10009   HELPER
7884076   Cooper,Demitrus          C8866074     100   20221209   0133   305113       313383    9:38:00AM   5:33:00PM   *MDR319132   DRIVER
7884076   Cooper,Demitrus          C8866074     100   20221209   0133   305113       313383    9:38:00AM   5:33:00PM   N626893479   DRIVER
7884076   Cooper,Demitrus          C8866074     100   20221210   0133   305113       313383    9:23:00AM   5:17:00PM   N626893479   DRIVER
7884076   Cooper,Demitrus          C8866074     100   20221211   0133   305113       313383    9:08:00AM   3:36:00PM   N626893479   DRIVER
7884076   Cooper,Demitrus          C8866074     100   20221212   0133   305113       313383    8:44:00AM   2:36:00PM   *MDR332928   DRIVER
7884076   Cooper,Demitrus          C8866074     100   20221212   0133   305113       313383    8:44:00AM   2:36:00PM   *MDR386862   DRIVER
7884076   Cooper,Demitrus          C8866074     100   20221212   0133   305113       313383    8:44:00AM   2:36:00PM   *MDR386871   DRIVER
7884076   Cooper,Demitrus          C8866074     100   20221212   0133   305113       313383    8:44:00AM   2:36:00PM   N626893479   DRIVER
7884076   Cooper,Demitrus          C8866074     100   20221213   0133   305113       313383    8:41:00AM   4:08:00PM   N626893479   DRIVER
7884076   Cooper,Demitrus          C8866074     100   20221214   0133   305113       313383    8:40:00AM   2:32:00PM   *MDR348582   DRIVER
7884076   Cooper,Demitrus          C8866074     100   20221214   0133   305113       313383    8:40:00AM   2:32:00PM   N626893479   DRIVER
7884076   Cooper,Demitrus          C8866074     100   20221215   0133   305113       313383   10:28:00AM   3:07:00PM   *MDR356805   DRIVER
7884076   Cooper,Demitrus          C8866074     100   20221215   0133   305113       313383   10:28:00AM   3:07:00PM   N626893479   DRIVER
7884076   Cooper,Demitrus          C8866074     100   20221216   0133   305113       313383    9:32:00AM   2:50:00PM   *MDR365099   DRIVER
7884076   Cooper,Demitrus          C8866074     100   20221216   0133   305113       313383    9:32:00AM   2:50:00PM   N626893479   DRIVER
7884076   Cooper,Demitrus          C8866074     100   20221217   0133   305113       313383   10:16:00AM   5:12:00PM   N626893479   DRIVER
7884076   Cooper,Demitrus          C8866074     100   20221218   0133   305113       313383    9:09:00AM   4:14:00PM   N626893479   DRIVER
7884076   Cooper,Demitrus          C8866074     100   20221219   0133   305113       313383    8:39:00AM   3:28:00PM   N626893479   DRIVER
7884076   Cooper,Demitrus          C8866074     100   20221220   0133   305113       313383    9:04:00AM   4:02:00PM   *MDR383202   DRIVER
7884076   Cooper,Demitrus          C8866074     100   20221220   0133   305113       313383    9:04:00AM   4:02:00PM   N626893479   DRIVER
7884076   Cooper,Demitrus          C8866074     100   20221221   0133   305113       313383    9:20:00AM   2:51:00PM   8HKSA11278   DRIVER
7884076   Cooper,Demitrus          C8866074     100   20221223   0133   305113       313383    9:33:00AM   3:53:00PM   N626893479   DRIVER
7884076   Cooper,Demitrus          C8866074     100   20221224   0133   305113       313383   10:27:00AM   2:49:00PM   *MDR430353   DRIVER
7884076   Cooper,Demitrus          C8866074     100   20221224   0133   305113       313383   10:27:00AM   2:49:00PM   N626893479   DRIVER
7884076   Cooper,Demitrus          C8866074     100   20221228   0133   305113       313383   10:22:00AM   3:13:00PM   *MDR455305   DRIVER
7884076   Cooper,Demitrus          C8866074     100   20221228   0133   305113       313383   10:22:00AM   3:13:00PM   N626893479   DRIVER
7884076   Cooper,Demitrus          C8866074     100   20221229   0133   305113       313383    8:58:00AM   2:38:00PM   *MDR455320   DRIVER
7884076   Cooper,Demitrus          C8866074     100   20221229   0133   305113       313383    8:58:00AM   2:38:00PM   N626893479   DRIVER
7884076   Cooper,Demitrus          C8866074     100   20221230   0133   305113       313383    8:31:00AM   4:30:00PM   *MDR429537   DRIVER
7884076   Cooper,Demitrus          C8866074     100   20221230   0133   305113       313383    8:31:00AM   4:30:00PM   N626893479   DRIVER
7884076   Cooper,Demitrus          C8866074     100   20221231   0133   305113       313383    8:54:00AM   3:23:00PM   *MDR433175   DRIVER
7884076   Cooper,Demitrus          C8866074     100   20221231   0133   305113       313383    8:54:00AM   3:23:00PM   N626893479   DRIVER
7884076   Cooper,Demitrus          C8866074     100   20230102   0133   305113       313383    9:01:00AM   2:42:00PM   N626893479   DRIVER
7884076   Cooper,Demitrus          C8866074     100   20230103   0133   305113       313383    9:11:00AM   3:43:00PM   N626893479   DRIVER
7884076   Cooper,Demitrus          C8866074     100   20230104   0133   305113       313383    8:29:00AM   3:08:00PM   N626893479   DRIVER
7884076                            C8866269    3101   20230317   0626   301983       85166    10:32:00AM   3:30:00PM   1AKSA26287   HELPER
